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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

                                                            §
 SOVEREIGN PEAK VENTURES, LLC,                              §
                                                            §
        Plaintiff,                                          §
                                                            §   JURY TRIAL DEMANDED
 v.                                                         §
                                                            §
 HISENSE CO., LTD.,                                         §   C.A. NO. ____________
 QINGDAO HUATONG STATE-OWNED CAPITAL                        §
 OPERATION (GROUP) CO. LTD.,                                §
 HISENSE VISUAL TECHNOLOGY CO., LTD.,                       §
 QINGDAO HISENSE ELECTRONICS INDUSTRY                       §
 HOLDINGS CO., LTD.,                                        §
 HISENSE IMPORT & EXPORT CO. LTD.,                          §
 HISENSE INTERNATIONAL CO., LTD.,                           §
 HISENSE INTERNATIONAL (HK) CO., LTD.,                      §
 HISENSE INTERNATIONAL (HONG KONG)                          §
 AMERICA INVESTMENT CO., LTD.,                              §
 HISENSE INTERNATIONAL AMERICA                              §
 HOLDINGS CO., LTD.,                                        §
 GUIYANG HISENSE ELECTRONICS CO., LTD.,                     §
 GUIYANG INDUSTRIAL AND COMMERCIAL                          §
 ASSETS MANAGEMENT CO., LTD., and                           §
 HISENSE ELECTRONICA MEXICO S.A. DE C.V.                    §
                                                            §
        Defendants.                                         §


             PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Sovereign Peak Ventures, LLC (“SPV”) files this Complaint against Defendants

Hisense Co., Ltd. (“Hisense Co.”), Qingdao Huatong State-owned Capital Operation (Group) Co.

Ltd. (“Huatong Group”), Hisense Visual Technology Co., Ltd. (“Hisense Visual”), Qingdao

Hisense Electronics Industry Holdings Co., Ltd. (“Hisense Electronics Holdings”), Hisense Import

& Export Co. Ltd. (“Hisense Import”), Hisense International Co., Ltd. (“Hisense Int’l”), Hisense

International (HK) Co., Ltd. (“Hisense Int’l (HK)”), Hisense International (Hong Kong) America

Investment Co., Ltd. (“Hisense Int’l (HK) America”), Hisense International America Holdings Co.,

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Ltd. (“Hisense Int’l America”), Guiyang Hisense Electronics Co., Ltd. (“Guiyang Hisense”),

Guiyang Industrial and Commercial Assets Management Co., Ltd. (“Guiyang Industrial”), and

Hisense Electronica Mexico S.A. de C.V. (“Hisense Mexico”) (collectively Hisense Co., Huatong

Group, Hisense Visual, Hisense Electronics Holdings, Hisense Import, Hisense Int’l, Hisense Int’l

(HK), Hisense Int’l (HK) America, Hisense Int’l America, Guiyang Hisense, Guiyang Industrial,

and Hisense Mexico are referred to as “Defendants,” “Hisense Group,” or “Hisense”) for

infringement of U.S. Patent No. 6,925,097 (the “ʼ097 patent”), U.S. Patent No. 7,685,498 (the

“ʼ498 patent”), U.S. Patent No. 8,019,169 (the “ʼ169 patent”), U.S. Patent No. 8,737,476 (the

“ʼ476 patent”), U.S. Patent No. 8,971,401 (the “ʼ401 patent”), U.S. Patent No. 9,042,457 (the

“ʼ457 patent”), and U.S. Patent No. 9,414,059 (the “ʼ059 patent”) (collectively, the “Asserted

Patents”).

                                         THE PARTIES

       1.      Sovereign Peak Ventures, LLC is a Texas limited liability company, with a

principal place of business in Plano, TX. SPV resides in this District.

       2.      On information and belief, Hisense Co., Ltd. is a corporation organized and existing

under the laws of the People’s Republic of China with a principal place of business at Hisense

Tower No. 17, Donghaixi Road, Qingdao, Shandong Province, 266071, P.R. China. Hisense Co.

holds at least a 10% interest in and, on information and belief, a controlling interest in Hisense

Visual and Hisense Import. Hisense Co., individually and with Hisense Group, is engaged in

making, using, selling, offering for sale, and/or importing, and/or induces its subsidiaries,

affiliates, retail partners, and customers in the making, using, selling, offering for sale, and/or

importing throughout the United States, including within this District, products, such as

televisions, accused of infringement. Hisense Co. operates in agency as part of the Hisense Group.



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Hisense Co. in agency with the Hisense Group provides a distribution channel of infringing

products within this District and the U.S. nationally.

       3.      On information and belief, Qingdao Huatong State-owned Capital Operation

(Group) Co. Ltd. is a corporation organized and existing under the laws of the People’s Republic

of China with a principal place of business located at No. 66, Haikou Road, Qingdao, Shandong

Province, 266000, P.R. China. Huatong Group holds at least a 10% interest in and, on information

and belief, a controlling interest in Hisense Co. Huatong Group, individually and with Hisense

Group, is engaged in making, using, selling, offering for sale, and/or importing, and/or induces its

subsidiaries, affiliates, retail partners, and customers in the making, using, selling, offering for

sale, and/or importing throughout the United States, including within this District, products, such

as televisions, accused of infringement. Huatong Group operates in agency as part of the Hisense

Group. Huatong Group in agency with the Hisense Group provides a distribution channel of

infringing products within this District and the U.S. nationally.

       4.      On information and belief, Hisense Visual Technology Co., Ltd., formerly known

as Qingdao Hisense Electronics Co., Ltd. and Hisense Electric Co., Ltd., is a corporation organized

and existing under the laws of the People’s Republic of China with a principal place of business

located at 218 Qianwangang Road, Qingdao Economic and Technological Development Zone,

Qingdao, Shandong Province, 266555, P.R. China. Hisense Visual has at least a 10% interest in

and, on information and belief, a controlling interest in Hisense Int’l, Hisense Int’l (HK), Hisense

Int’l (HK) America, Guiyang Hisense, and Hisense Mexico. Hisense Visual, individually and with

Hisense Group, is engaged in making, using, selling, offering for sale, and/or importing, and/or

induces its subsidiaries, affiliates, retail partners, and customers in the making, using, selling,

offering for sale, and/or importing throughout the United States, including within this District,



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products, such as televisions, accused of infringement. Hisense Visual operates in agency as part

of the Hisense Group. Hisense Visual in agency with the Hisense Group provides a distribution

channel of infringing products within this District and the U.S. nationally, where Hisense Visual

regularly imports and inserts into the stream of commerce televisions, such that infringing

televisions will be offered for sale and sold in this District and throughout the United States.

        5.      On information and belief, Qingdao Hisense Electronics Industry Holdings Co.,

Ltd. is a corporation organized and existing under the laws of the People’s Republic of China with

a principal place at 218 Qianwangang Road, Qingdao Economic and Technological Development

Zone, Qingdao, Shandong Province, 266555, P.R. China. Hisense Electronics Holdings holds at

least a 10% interest in and, on information and belief, a controlling interest in Hisense Visual.

Hisense Electronics Holdings, individually and with Hisense Group, is engaged in making, using,

selling, offering for sale, and/or importing, and/or induces its subsidiaries, affiliates, retail partners,

and customers in the making, using, selling, offering for sale, and/or importing throughout the

United States, including within this District, products, such as televisions, accused of infringement.

Hisense Electronics Holdings operates in agency as part of the Hisense Group. Hisense Electronics

Holdings in agency with the Hisense Group provides a distribution channel of infringing products

within this District and the U.S. nationally.

        6.      On information and belief, Hisense Import & Export Co. Ltd. is a corporation

organized and existing under the laws of the People’s Republic of China with a principal place of

business at Hisense Tower, No. 17 Donghaixi Road, Qingdao, Shandong Province 266071, P.R.

China. Hisense Import holds at least a 10% interest in Hisense Int’l and, on information and belief,

a controlling interest in Hisense Int’l. Hisense Import, individually and with Hisense Group, is

engaged in making, using, selling, offering for sale, and/or importing, and/or induces its



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subsidiaries, affiliates, retail partners, and customers in the making, using, selling, offering for

sale, and/or importing throughout the United States, including within this District, products, such

as televisions, accused of infringement. Hisense Import operates in agency as part of the Hisense

Group. Hisense Import in agency with the Hisense Group provides a distribution channel of

infringing products within this District and the U.S. nationally, where Hisense Import regularly

imports and inserts into the stream of commerce televisions, such that infringing televisions will

be offered for sale and sold in this District and throughout the United States.

        7.      On information and belief, Hisense International Co., Ltd. is a corporation

organized and existing under the laws of the People’s Republic of China with a principal place of

business at Hisense Tower, No. 17, Floor 22, Donghaixi Road, South District, Qingdao, Shandong

Province 266071, P.R. Hisense Int’l, individually and with Hisense Group, is engaged in making,

using, selling, offering for sale, and/or importing, and/or induces its subsidiaries, affiliates, retail

partners, and customers in the making, using, selling, offering for sale, and/or importing

throughout the United States, including within this District, products, such as televisions, accused

of infringement. Hisense Int’l operates in agency as part of the Hisense Group. Hisense Int’l in

agency with the Hisense Group provides a distribution channel of infringing products within this

District and the U.S. nationally, where Hisense Int’l regularly imports and inserts into the stream

of commerce televisions, such that infringing televisions will be offered for sale and sold in this

District and throughout the United States.

        8.      On information and belief, Hisense International (HK) Co., Ltd. is a corporation

organized and existing under the laws of Hong Kong, with a principal place of business located at

Room 3101-3105, Singga Commercial Centre, No. 148 Connaught Road West, Sheung Wan,

Hong Kong. Hisense Int’l (HK), individually and with Hisense Group, is engaged in making, using,



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selling, offering for sale, and/or importing, and/or induces its subsidiaries, affiliates, retail partners,

and customers in the making, using, selling, offering for sale, and/or importing throughout the

United States, including within this District, products, such as televisions, accused of infringement.

Hisense Int’l (HK) operates in agency as part of the Hisense Group. Hisense Int’l (HK) in agency

with the Hisense Group provides a distribution channel of infringing products within this District

and the U.S. nationally, where Hisense Int’l (HK) regularly imports and inserts into the stream of

commerce televisions, such that infringing televisions will be offered for sale and sold in this

District and throughout the United States.

        9.       On information and belief, Hisense International (Hong Kong) America Investment

Co., Ltd. is a corporation organized and existing under the laws of Hong Kong, with a principal

place of business located at Room 3101-3105, Singga Commercial Centre, No. 148 Connaught

Road West, Sheung Wan, Hong Kong. Hisense Int’l (HK) America, individually and with Hisense

Group, is engaged in making, using, selling, offering for sale, and/or importing, and/or induces its

subsidiaries, affiliates, retail partners, and customers in the making, using, selling, offering for

sale, and/or importing throughout the United States, including within this District, products, such

as televisions, accused of infringement. Hisense Int’l (HK) America operates in agency as part of

the Hisense Group. Hisense Int’l (HK) America in agency with the Hisense Group provides a

distribution channel of infringing products within this District and the U.S. nationally, where

Hisense Int’l (HK) America regularly imports and inserts into the stream of commerce televisions,

such that infringing televisions will be offered for sale and sold in this District and throughout the

United States.

        10.      On information and belief, Hisense International America Holdings Co., Ltd. is a

corporation organized and existing under the laws of Hong Kong, with a principal place of business



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located at Room 3101-3105, Singga Commercial Centre, No. 148 Connaught Road West, Sheung

Wan, Hong Kong. Hisense Int’l America holds at least a 10% interest in and, on information and

belief, a controlling interest in Hisense Int’l (HK) America. Hisense Int’l America, individually and

with Hisense Group, is engaged in making, using, selling, offering for sale, and/or importing,

and/or induces its subsidiaries, affiliates, retail partners, and customers in the making, using,

selling, offering for sale, and/or importing throughout the United States, including within this

District, products, such as televisions, accused of infringement. Hisense Int’l America operates in

agency as part of the Hisense Group. Hisense Int’l America in agency with the Hisense Group

provides a distribution channel of infringing products within this District and the U.S. nationally.

        11.     On information and belief, Guiyang Hisense Electronics Co., Ltd. is a corporation

organized and existing under the laws of the People’s Republic of China with a principal place of

business at No. 39, Honghe Road, Economic Technology Development Zone, Guiyang, Guizhou,

550006 P.R. China. Guiyang Hisense, individually and with Hisense Group, is engaged in making,

using, selling, offering for sale, and/or importing, and/or induces its subsidiaries, affiliates, retail

partners, and customers in the making, using, selling, offering for sale, and/or importing

throughout the United States, including within this District, products, such as televisions, accused

of infringement. Guiyang Hisense operates in agency as part of the Hisense Group. Guiyang

Hisense in agency with the Hisense Group provides a distribution channel of infringing products

within this District and the U.S. nationally.

        12.     On information and belief, Guiyang Industrial and Commercial Assets

Management Co., Ltd. is a corporation organized and existing under the laws of the People’s

Republic of China with a principal place of business at No. 233, Jinyang North Road, Guanshanhu

District, Guiyang, Guizhou, 550081 P.R. China. Guiyang Industrial holds at least a 10% interest



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in and, on information and belief, a controlling interest in Guiyang Hisense. Guiyang Industrial,

individually and with Hisense Group, is engaged in making, using, selling, offering for sale, and/or

importing, and/or induces its subsidiaries, affiliates, retail partners, and customers in the making,

using, selling, offering for sale, and/or importing throughout the United States, including within

this District, products, such as televisions, accused of infringement. Guiyang Industrial operates in

agency as part of the Hisense Group. Guiyang Industrial in agency with the Hisense Group

provides a distribution channel of infringing products within this District and the U.S. nationally.

        13.     On information and belief, Hisense Electronica Mexico S.A. de C.V. is a

corporation organized and existing under the laws of Mexico with a principal place of business at

Blvd. Hisense (Sharp) 3510 Parque Industrial Rosarito Playas de Rosarito, B.C. C.P. 22710

Mexico. Hisense Mexico, individually and with Hisense Group, is engaged in making, using,

selling, offering for sale, and/or importing, and/or induces its subsidiaries, affiliates, retail partners,

and customers in the making, using, selling, offering for sale, and/or importing throughout the

United States, including within this District, products, such as televisions, accused of infringement.

Hisense Mexico operates in agency as part of the Hisense Group. Hisense Mexico in agency with

the Hisense Group provides a distribution channel of infringing products within this District and

the U.S. nationally, where Hisense Mexico regularly imports and inserts into the stream of

commerce televisions, such that infringing televisions will be offered for sale and sold in this

District and throughout the United States.

        14.     On information and belief, Defendants are an interrelated group of companies

which collectively comprise one of the largest electronics manufacturers in the United States.

        15.     On information and belief, Defendants, individually, together, and/or in concert,

participate in the design, development, manufacture, sale for importation into the United States,



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offers for sale for importation into the United States, importation into the United States, sale within

the United States after importation, and offers for sale within the United States after importation,

of televisions that infringe the Asserted Patents.

       16.     The Asserted Patents were invented by employees of Panasonic Corporation

(“Panasonic”). Founded in 1918, Panasonic has been at the forefront of the electronics industry for

over a century. Panasonic made numerous innovations in the home appliance, battery, mobile

phone, and television industries. Indeed, Panasonic’s invention of the “Paper Battery” in 1979 is

widely credited as enabling the compact electronics of today. In 1991, Panasonic released the

Mova P, the smallest and lightest mobile phone on the market, which revolutionized the industry

by showing the demand for a compact, lightweight device. Panasonic also produced the first wide-

format plasma display and developed the first digital television for the U.S. market. Panasonic’s

history of innovation is also borne out by its intellectual property. Indeed, a search of the USPTO

database where the patent assignee is “Panasonic” yields over 27,000 matches.

       17.     Hisense was founded in the People’s Republic of China in 1969 and continues as a

partially state-owned enterprise of the Chinese government. Hisense’s vision is “[t]o become the

most trusted company and loved brand in the U.S. Consumer Electronic and Home Appliance

industries by offering solutions that customers desire.” “Hisense is the fastest growing TV brand

in North America by units, among the top 10 TV brands.” See, e.g., https://www.hisense-

usa.com/company.

       18.     Prior to the filing of the Complaint, SPV repeatedly attempted to engage Hisense

and/or its agents in licensing discussions related to the Asserted Patents, including but not limited

to providing a non-discriminatory offer to license the portfolio on a worldwide basis, including

both implementation and any standards-essential patents in the portfolio, that was reasonable for



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 a license taken in the absence of litigation. Hisense ignored these overtures. Hisense’s past and

 continuing sales of its devices i) willfully infringe the Asserted Patents and ii) impermissibly take

 the significant benefits of SPV’s patented technologies without fair compensation to SPV.

        19.     On information and belief, Defendants operate in agency with each other as a group.

 See, e.g., https://www.hisense-usa.com/company (Hisense “has built 54 overseas companies and

 utilizes 14 high-end international production facilities in Europe, Central America, and South

 Africa. Hisense also has 12 research and development centers worldwide with the sole aim of

 delivering first-rate and affordable products that improve the lives of consumers.”). Hisense

 induces its subsidiaries, affiliates, retail partners, and customers in the making, using, selling,

 offering for sale, and/or importing throughout the United States, including within this District,

 products, such as televisions and projectors, accused of infringement. Defendants provide a

 distribution channel of infringing products within this District and the U.S. nationally. Defendants,

 between and amongst themselves, purposefully direct the Accused Products into established

 distribution channels within this District and the U.S. nationally.

        20.     On information and belief, Defendants maintain a corporate presence in the United

 States via at least its, U.S.-based sales subsidiaries including, Hisense Electronics Manufacturing

 Company of America Corporation and Hisense USA Corporation. Hisense Electronics

 Manufacturing Company of America Corporation and Hisense USA Corporation are Georgia

 corporations with a principal place of business at 7310 McGinnis Ferry Road, Suwanee, Georgia,

 20024. Hisense Electronics Manufacturing Company of America Corporation provides sales and

 distribution support in North America as part of the Hisense Group and for its parents, e.g., Hisense

 Visual. Hisense Electronics Manufacturing Company of America Corporation is an agent of

 Defendants. Hisense USA Corporation provides sales and distribution support in North America



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 as part of the Hisense Group and for its parents, e.g., Hisense Visual. Hisense USA Corporation is

 an agent of Defendants. At the direction and control of Defendants, U.S.-based sales subsidiaries

 including, Hisense Electronics Manufacturing Company of America Corporation and Hisense

 USA Corporation, import infringing products, such as televisions and projectors, into the United

 States and this District.

         21.     On information and belief, Hisense and its U.S.-based sales subsidiaries (which act

 as part of a global network of overseas sales and manufacturing subsidiaries on behalf of Hisense)

 have operated as agents of one another and vicariously as parts of the same business group to work

 in concert together and enter into agreements that are nearer than arm’s length. For example,

 Hisense Visual, alone and via at least the activities of its U.S.-based sales subsidiaries (e.g.,

 Hisense Electronics Manufacturing Company of America Corporation and Hisense USA

 Corporation), conducts business in the United States, including importing, distributing, and selling

 televisions and projectors that incorporate devices, systems, and processes that infringe the

 Asserted Patents in Texas and this judicial district. See Trois v. Apple Tree Auction Center, Inc.,

 882 F.3d 485, 490 (5th Cir. 2018) (“A defendant may be subject to personal jurisdiction because

 of the activities of its agent within the forum state….”); see also Cephalon, Inc. v. Watson

 Pharmaceuticals, Inc., 629 F. Supp. 2d 338, 348 (D. Del. 2009) (“The agency theory may be

 applied not only to parents and subsidiaries, but also to companies that are ‘two arms of the same

 business group,’ operate in concert with each other, and enter into agreements with each other that

 are nearer than arm’s length.”).

         22.     Through offers to sell, sales, imports, distributions, and other related agreements to

 transfer ownership of Defendants’ electronics, such as televisions and projectors, with distributors

 and customers operating in and maintaining a significant business presence in the U.S. and/or its



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 U.S. subsidiaries, Hisense Electronics Manufacturing Company of America Corporation and

 Hisense USA Corporation, Defendants do business in the U.S., the state of Texas, and in the

 Eastern District of Texas.

                                  JURISDICTION AND VENUE

        23.     This action arises under the patent laws of the United States, namely 35 U.S.C. §§

 271, 281, and 284-285, among others.

        24.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

 1338(a).

        25.     Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(c). Each

 Defendant is a foreign entity and may be sued in any judicial district under 28 U.S.C. § 1391(c)(3).

        26.     This Court has general and specific personal jurisdiction over Defendants pursuant

 to due process and/or the Texas Long Arm Statute because, inter alia, (i) Defendants have done

 and continue to do business in Texas and (ii) Defendants have, directly and through intermediaries,

 committed and continue to commit acts of patent infringement in the State of Texas, including

 making, using, offering to sell, and/or selling accused products in Texas, and/or importing accused

 products into Texas, including by Internet sales and sales via retail and wholesale stores, inducing

 others to commit acts of patent infringement in Texas, and/or committing a least a portion of any

 other infringements alleged herein. Defendants have placed, and are continuing to place, infringing

 products into the stream of commerce, via an established distribution channel, with the knowledge

 and/or understanding that such products are sold in Texas, including in this District. Defendants

 have derived substantial revenues from its infringing acts occurring within Texas and within this

 District. Defendants have substantial business in this State and judicial district, including: (A) at

 least part of its infringing activities alleged herein; and (B) regularly doing or soliciting business,



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 engaging in other persistent conduct, and/or deriving substantial revenue from infringing goods

 offered for sale, sold, and imported, and services provided to Texas residents vicariously through

 and/or in concert with its alter egos, intermediaries, agents, distributors, importers, customers,

 subsidiaries, and/or consumers.

        27.     This Court has personal jurisdiction over Defendants, directly or through

 intermediaries, distributors, importers, customers, subsidiaries, and/or consumers including its

 U.S.-based sales subsidiaries, e.g., Hisense Electronics Manufacturing Company of America

 Corporation and Hisense USA Corporation. Through direction and control of such subsidiaries,

 Defendants have committed acts of direct and/or indirect patent infringement within Texas, and

 elsewhere within the United States, giving rise to this action and/or has established minimum

 contacts with Texas such that personal jurisdiction over Defendants would not offend traditional

 notions of fair play and substantial justice. Hisense Electronics Manufacturing Company of

 America Corporation and Hisense USA Corporation are wholly-owned subsidiaries of Hisense.

 The primary business of Hisense Electronics Manufacturing Company of America Corporation

 and Hisense USA Corporation is the marketing and sale of electronic products in the United States.

 Hisense has a 100% controlling ownership interest in Hisense Electronics Manufacturing

 Company of America Corporation and Hisense USA Corporation and maintains more than half of

 the voting rights for such subsidiaries as its basis for control. See, e.g., https://www.hisense-

 usa.com/company (“Hisense USA is the U.S. headquarters that was established by our parent

 company – Hisense – in Suwanee, GA.”). Upon information and belief, Hisense compensates

 Hisense Electronics Manufacturing Company of America Corporation and Hisense USA

 Corporation for its sales support services in the United States. As such, Hisense has a direct

 financial interest in its U.S.-based subsidiaries, and vice versa.



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         28.     Personal jurisdiction is proper because Defendants have committed acts of

 infringement in this District. This Court has personal jurisdiction over Defendants because, inter

 alia, this action arises from activities Defendants purposefully directed towards the State of Texas

 and this District.

         29.     Exercising personal jurisdiction over Defendants in this District would not be

 unreasonable given Defendants’ contacts in this District, the interest in this District of resolving

 disputes related to products sold herein, and the harm that would occur to SPV.

         30.     In addition, Defendants have knowingly induced and continue to knowingly induce

 infringement within this District by advertising, marketing, offering for sale and/or selling devices

 pre-loaded with infringing functionality within this District, to consumers, customers,

 manufacturers, distributors, resellers, partners, and/or end users, and providing instructions, user

 manuals, advertising, and/or marketing materials which facilitate, direct or encourage the use of

 infringing functionality with knowledge thereof.

         31.     Personal jurisdiction also exists specifically over each of the Defendants because

 each, directly or through affiliates, subsidiaries, agents, or intermediaries, transacts business in this

 State or purposefully directed at this State (including, without limitation, retail stores including

 Best Buy and Walmart) by making, importing, offering to sell, selling, and/or having sold

 infringing products within this State and District or purposefully directed at this State or District.

         32.     Personal jurisdiction also exists specifically over each of the Defendants because

 Defendants have overlapping executives, interlocking corporate structures, and close relationships

 as manufacturer, importer, and distributor of the products accused of infringement.

         33.     To the extent any foreign Defendant is not subject to jurisdiction in any state’s court

 of general jurisdiction, exercising jurisdiction over such Defendant in this State and this District



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 would be consistent with due process and this State’s long-arm statute and under national contacts

 in light of facts alleged in this Complaint.

        34.     In addition, each of the Defendants, directly or through affiliates, subsidiaries,

 agents, or intermediaries, places infringing products into the stream of commerce knowing they

 will be sold and used in Texas, and economically benefits from the retail sale of infringing products

 in this State. For example, Defendants’ products have been sold and are available for sale in this

 District at Best Buy and Walmart retail stores, and are also available for sale and offered for sale

 in this District through online retailers such as Best Buy, Walmart, and Amazon. Hisense also

 advertises its infringing products and provides customer support of its infringing products to

 consumers in Texas and this District through its agent’s websites. See, e.g., https://www.hisense-

 usa.com/tv-and-audio/televisions/all-tvs; https://www.sharptvusa.com/support/.

        35.     On information and belief, from 2015 to 2019, Hisense entered into a brand

 licensing agreement with Sharp Electronics Corporation and/or Sharp Corporation through which

 Hisense made, used, offered to sell, sold, and/or imported Sharp-branded televisions and projectors

 in this District and throughout United States. See, e.g., https://www.lifewire.com/hisense-now-has-

 sharp-assets-1847076.

        36. With respect to the Asserted Patents, the Accused Products are devices that support

 H.265/HEVC video, including, but not limited to Hisense and Sharp branded projectors and

 televisions (e.g., LC-43N7000U, LC-50N7000U, LC-55N7000U, LC-60N7000U, LC-65N7000U,

 LC-70N7100U, LC-75N8000U, LC-65N9000U, LC-40P5000U, LC-43P5000U, LC-50P5000U,

 LC-55P5000U, LC-55P6000U, LC-65P6000U, LC-65P6030U, LC-55P6050U, LC-60P6070U,

 LC-43P7000U, LC-50P7000U, LC-55P7000U, LC-65P7000U, LC-55P8000U, LC-65P8000U,

 LC-50Q620U, LC-55Q620U, LC-58Q620U, LC-65Q620U, LC-43Q7000U, LC-50Q7000U, LC-



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 55Q7000U, LC-65Q7000U, LC-55Q7030U, LC-55Q7040U, LC-43Q7080U, LC-65Q7300U, LC-

 58Q7330U, LC-65Q7330U, LC-58Q7370U, LC-60Q7370U, LC-65Q7370U, LC-60Q7380U, LC-

 55Q7530U, LC-75Q7570U, LC-55Q8000U, LC-65Q8000U, 65A60GMV, 50A60GMV,

 43A60GMV, 75A6G, 60A6G, 50A6G, 70A6G, 65A6G, 55A6G, 43A6G, 32H4F, 40H4, 43H4F,

 32H4F5, 43H4030F, 40H4030F, 32H4030F, 40H4030F1, 43H4030F1, 32H4030F3, 43H4080F,

 40H5500F, 32H5500F, 43H5500G, 32H5500G, 32H5510G, 43H5510G, 32H5580F, 40H5580F,

 43H5580G, 40H5590F, 32H5590F, 43H6510G, 50H6510G, 55H6510G, 65H6510G, 75H6510G,

 85H6510G, 58H6550E, 65H6570F, 55H6570F, 50H6570F, 43H6570F, 85H6570G, 75H6570G,

 70H6570G, 65H6570G, 55H6570G, 50H6570G, 43H6570G, 65H6590F, 55H6590F, 50H6590F,

 43H6590F, 55H8E, 65H8E, 65H8F, 55H8F, 50H8F, 75H8G, 65H8G, 55H8G, 50H8G, 65H9F,

 55H9F, 65H9G, 55H9G, 120L10E, 100L10E, 100L10E1, 120L10E1, 100L5F, 120L5FBDL,

 100L8D, 88L8E, 55R6040F, 55R6040G, 50R6040G, 55R6070E3, 50R6080G, 55R6080G,

 65R6080G, 65R6090G, 55R6090G, 50R6090G, 43R6090G, 55R6090G5, 50R6090G5,

 43R6090G5, 65R6095G5, 55R6095G5, 70R6270F, 70R6290F, 65R6E, 60R6E, 55R6E, 50R6E,

 43R6E, 75R6E1, 65R6E1, 50R6E1, 43R6E1, 75R6E3, 65R6E3, 58R6E3, 50R6E3, 43R6E3,

 65R6E4, 55R6G, 75R7070E2, 65R7E, 55R7E, 50R7E, 43R7E, 65R7F, 55R7F, 50R7F, 55R8F,

 65R8F5, 55R8F5, 65R8F5, 75U6G, 55U6G, 50U6G, 65U6G, 55U7G, 75U7G, 65U7G, 55U8G,

 65U8G, 75U9DG, 43H6E, 49H6E, 50H6E, 55H6E, 65H6E, 60H6080E, 65R7050E1), as well as,

 their components, and processes related to the same.

        37. On information and belief, Hisense controls or otherwise directs and authorizes all

 activities of its U.S.-based sales subsidiaries, including Hisense Electronics Manufacturing

 Company of America Corporation and Hisense USA Corporation. Such directed and authorized

 activities include, the U.S. Subsidiaries’ using, offering for sale, selling, and/or importing the



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 Accused Products, their components, and/or products containing the same that incorporate the

 fundamental technologies covered by the Asserted Patents. The Defendants’ U.S.-based sales

 subsidiaries (e.g., Hisense Electronics Manufacturing Company of America Corporation and

 Hisense USA Corporation) are authorized to import, distribute, sell, or offer for sale the Accused

 Products on behalf of Defendants. For example, Hisense researches, designs, develops, and

 manufactures televisions and then directs its U.S.-based sales subsidiaries to import, distribute,

 offer for sale, and sell the Accused Products in the United States. See, e.g., United States v. Hui

 Hsiung, 778 F.3d 738, 743 (9th Cir. 2015) (finding that the sale of infringing products to third

 parties rather than for direct import into the U.S. did not “place [defendants’] conduct beyond the

 reach of United States law [or] escape culpability under the rubric of extraterritoriality”).

 Furthermore, Defendants’ U.S.-based sales subsidiaries also administer, on behalf of Defendants,

 requests for service under and any disputes arising from Defendants’ limited warranty of the

 Accused Products sold in the U.S., including in Texas and this judicial district. See, e.g.,

 https://www.hisense-usa.com/television-1-year-warranty. Thus, Defendants’ U.S.-based sales

 subsidiaries conduct infringing activities on behalf of Defendants.

        38. On information and belief, Defendants’ U.S.-based sales subsidiaries corporate

 presence in the United States gives Hisense substantially the business advantages that it would

 have enjoyed if it conducted its business through its own offices or paid agents in the state.

 Defendants’ U.S.-based sales subsidiaries are authorized to import, distribute, sell, and offer for

 sale Defendants’ products, including televisions incorporating infringing devices and processes,

 on behalf of Defendants. For example, Defendants’ U.S.-based sales subsidiaries operate within

 Defendants’ global network of sales subsidiaries in North and South America, Europe, Asia,

 Australia, and the Middle East. In the U.S., including within the Eastern District of Texas,



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 Defendants’ projectors and televisions, which comprise infringing devices and processes, are

 imported, distributed, offered for sale, and sold.

        39. Via Defendants’ alter egos, agents, intermediaries, distributors, importers, customers,

 subsidiaries, and/or consumers maintaining a business presence, operating in, and/or residing in

 the U.S., Defendants’ products, including products and processes accused of infringing the

 Asserted Patents, are or have been widely distributed and sold in retail stores, both brick and mortar

 and online, in Texas including within this judicial district. See Litecubes, LLC v. Northern Light

 Products, Inc., 523 F.3d 1353, 1369-70 (Fed. Cir. 2008) (“[T]he sale [for purposes of § 271]

 occurred at the location of the buyer.”); see also Semcon IP Inc. v. Kyocera Corp., No. 2:18-cv-

 00197-JRG, 2019 WL 1979930, at *3 (E.D. Tex. May 3, 2019) (denying accused infringer’s

 motion to dismiss because plaintiff sufficiently plead that purchases of infringing products outside

 of the United States for importation into and sales to end users in the U.S. may constitute an offer

 to sell under § 271(a)). For example, Defendants’ televisions are sold to end users by the U.S.-

 based subsidiaries, distributors, and customers, including, but not limited to, Hisense Electronics

 Manufacturing Company of America Corporation and Hisense USA Corporation, online and at

 retail stores located throughout the Eastern District of Texas.

        40.     On information and belief, Hisense has placed and continues to place infringing

 products and/or products that practice infringing processes into the stream of commerce via

 established distribution channels comprising at least subsidiaries and distributors, such as Hisense

 Electronics Manufacturing Company of America Corporation and Hisense USA Corporation, and

 customers such as Walmart, Best Buy, and Amazon, with the knowledge and/or intent that those

 products are and/or will be imported, used, offered for sale, sold, and continue to be sold in the

 United States and Texas, including in this judicial district. As a result, Hisense has, vicariously



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 through and/or in concert with its alter egos, agents, intermediaries, distributors, importers,

 customers, subsidiaries, and/or consumers, placed the Accused Products into the stream of

 commerce via established distribution channels with the knowledge and/or intent that those

 products were sold and continue to be sold in the United States and Texas, including in this judicial

 district.

         41.    In the alternative, the Court has personal jurisdiction over Defendants under Federal

 Rule of Civil Procedure 4(k)(2), because the claims for patent infringement in this action arise

 under federal law, Defendants are not subject to the jurisdiction of the courts of general jurisdiction

 of any state, and exercising jurisdiction over Defendants is consistent with the U.S. Constitution.

         42.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because,

 among other things, Defendants are not residents in the United States, and thus may be sued in any

 judicial district, including this one, pursuant to 28 U.S.C. § 1391(c)(3). See In re HTC Corp., 889

 F.3d 1349, 1357 (Fed. Cir. 2018) (“The Court’s recent decision in TC Heartland does not alter”

 the alien-venue rule.).

                                              COUNT I
                      (INFRINGEMENT OF U.S. PATENT NO. 6,925,097)

         43.    Plaintiff incorporates paragraphs 1 through 42 herein by reference.

         44.    SPV is the assignee of the ’097 patent, entitled “Decoder, decoding method,

 multiplexer, and multiplexing method,” with ownership of all substantial rights in the ’097

 patent, including the right to exclude others and to enforce, sue, and recover damages for past

 and future infringements.

         45.    The ’097 patent is valid, enforceable, and was duly issued in full compliance with

 Title 35 of the United States Code. The ’097 patent issued from U.S. Patent Application No.

 09/820,311.


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         46.     Hisense has and continues to directly and/or indirectly infringe (by inducing

 infringement) one or more claims of the ’097 patent in this judicial district and elsewhere in Texas

 and the United States.

         47.     On information and belief, Hisense designs, develops, manufactures, assembles and

 markets televisions, projectors, and other devices configured to decode H.265/HEVC video. See

 https://www.divx.com/press/hisense-to-integrate-divx-hevc-solution-to-provide-4k-ultra-hd-for-

 its-digital-televisions/ (announced on May 27, 2015 and last visited May 21, 2021) (stating

 “Hisense, the fourth largest global TV manufacturer, will integrate support for DivX® HEVC

 Ultra HD video playback into its 4K TV product portfolio. The addition of DivX HEVC

 technology enables Hisense Ultra HD televisions to deliver a consistent, high quality video

 experience up to 4K to consumers globally. … it was crucial for Hisense to add best-in-class 4K

 video support powered by DivX HEVC to our digital TV portfolio. DivX HEVC lets [Hisense]

 deliver stunning UHD viewing experiences, helps to future-proof our upcoming products for 4K

 OTT streaming services and ensures that our existing offerings support the latest decoding

 standards.”).

         48.     Hisense directly infringes the ʼ097 patent via 35 U.S.C. § 271(a) by making,

 offering for sale, selling, and/or importing those Accused Products, their components and

 processes, and/or products containing the same that incorporate the fundamental technologies

 covered by the ’097 patent to, for example, its alter egos, agents, intermediaries, distributors,

 importers, customers, subsidiaries, and/or consumers. Furthermore, on information and belief,

 Hisense sells and makes the Accused Products outside of the United States, delivers those products

 to its customers, distributors, and/or subsidiaries in the United States, or in the case that it delivers

 the Accused Products outside of the United States it does so intending and/or knowing that those



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 products are destined for the United States and/or designing those products for sale in the United

 States, thereby directly infringing the ’097 patent. See, e.g., Lake Cherokee Hard Drive Techs.,

 L.L.C. v. Marvell Semiconductor, Inc., 964 F. Supp. 2d 653, 658 (E.D. Tex. 2013). Furthermore,

 Hisense directly infringes the ’097 patent through its direct involvement in the activities of its

 subsidiaries, including Hisense Electronics Manufacturing Company of America Corporation and

 Hisense USA Corporation, including by selling and offering for sale the Accused Products directly

 to such subsidiaries and importing the Accused Products into the United States for such

 subsidiaries. Such subsidiaries conduct activities that constitute direct infringement of the ’097

 patent under 35 U.S.C. § 271(a) by making, offering for sale, selling, and/or importing those

 Accused Products. For example, and on information and belief, Hisense offers for sale, sells, and

 imports the Accused Products within the U.S. to, for example, its distributors, customers,

 subsidiaries, importers, and/or consumers. Further, Hisense is vicariously liable for this infringing

 conduct of its U.S.-based sales subsidiaries, e.g., Hisense Electronics Manufacturing Company of

 America Corporation and Hisense USA Corporation, (under both the alter ego and agency

 theories) because, as an example and on information and belief, Hisense and Hisense Electronics

 Manufacturing Company of America Corporation and Hisense USA Corporation are essentially

 the same company, and Hisense has the right and ability to control its subsidiaries infringing acts

 and receives a direct financial benefit from the infringement of its U.S.-based sales subsidiaries,

 e.g., Hisense Electronics Manufacturing Company of America Corporation and Hisense USA

 Corporation.

        49.     For example, Hisense infringes claim 4 of the ’097 patent via the Accused Products.

 The Accused Products perform the “decoding method for carrying out a decoding process for a

 multiplexed stream which is obtained by multiplexing plural streams in parallel for each of the



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 streams included in the multiplexed stream” of claim 4. For example, the Accused Products

 implement a decoding method to carry out a H.265/HEVC decoding process using multi-level slice

 fragmentation feature. The decoding process decodes input image bitstream(s) including picture

 frames, each individually a multiplexed stream that is obtained by encoding multiple smaller units

 (plural streams) that comprise the entire bitstream including its picture frames.

        50.     The Accused Products perform “separating the multiplexed stream into plural

 streams.” For example, the HEVC decoding process involves dividing an encoded input bitstream

 including individual picture frames, each of which is a multiplexed stream, into multiple slices

 (“plural streams”).

        51.     The Accused Products perform “selecting one of the plural separated streams such

 that a target of a decoding process is converted from one stream to another stream.” For example,

 the HEVC decoding process involves decoding each of the slices in an input picture frame one by

 one until all slice segments in a slice are decoded, ensuring that the entire slice is decoded before

 moving to the following slice:




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 In the example above, one of the plural separated streams, slice 1, is selected to be decoded first,

 followed by slice 2 in the decoding process, thereby switching the decoding order from slice 1 to

 slice 2 (“such that a target of a decoding process converted from one stream to another stream”).

        52.     The Accused Products perform “decoding one of the plural separated streams

 output by the stream selection process.” For example, the selection process from the above

 example selects slice 1 which is then decoded. The entire slice (all slice segments) is decoded in

 the decoding process.

        53.     The Accused Products perform “wherein said selecting comprises detecting a

 stream switchable position in a stream being subjected to said decoding, at which position said

 decoding can be interrupted, and performing said selecting such that said decoding for the stream

 which is being processed is interrupted at the stream switchable position.” For example, HEVC

 decoding process detects the end of the last slice segment in a slice, which is a stream switchable

 position where the decoding can be interrupted. After the decoding is interrupted, decoding for the

 following slice (slice 2 in the example above) begins.

        54.     The technology discussion above and the exemplary Accused Products provide

 context for Plaintiff’s infringement allegations.

        55.     At a minimum, Hisense has known of the ’097 patent at least as early as the filing

 date of the Complaint. In addition, Hisense has known about the ’097 patent since at least May 10,

 2021, when Hisense had access to a data room providing notice of its infringement. Further,

 Hisense was notified again on May 12, 2021 that it had access to the data room providing notice

 of Hisense’s infringement of the ’097 patent.

        56.     Prior to the filing of the Complaint, Hisense knew or should have known of the

 ’097 patent, and knew or should have known that they infringed the ’097 patent’s claims. Indeed,



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 at a minimum, they exercised willful blindness to the existence of the ’097 patent and took

 deliberately wrongful steps to ignore their infringement of the ’097 patent.

        57.     On information and belief, since at least the above-mentioned date when Hisense

 was on notice of its infringement, Hisense has actively induced, under U.S.C. § 271(b),

 distributors, customers, subsidiaries, importers, and/or consumers that import, purchase, or sell the

 Accused Products that include or are made using all of the limitations of one or more claims of the

 ’097 patent to directly infringe one or more claims of the ’097 patent by using, offering for sale,

 selling, and/or importing the Accused Products. Since at least the notice provided on the above-

 mentioned date, Hisense does so with knowledge, or with willful blindness of the fact, that the

 induced acts constitute infringement of the ’097 patent. Hisense intends to cause, and have taken

 affirmative steps to induce infringement by distributors, importers, customers, subsidiaries, and/or

 consumers by at least, inter alia, creating advertisements that promote the infringing use of the

 Accused Products, creating and/or maintaining established distribution channels for the Accused

 Products into and within the United States, manufacturing the Accused Products in conformity

 with U.S. laws and regulations, distributing or making available instructions or manuals for these

 products to purchasers and prospective buyers, testing and certifying features related to H.265

 decoding in the Accused Products, and/or providing technical support, replacement parts, or

 services for these products to these purchasers in the United States. As noted above, this includes,

 but is not limited to, the collective willful blindness of the Hisense Group, including their singular

 and collective refusal to investigate whether the Accused Products infringe the ’097 patent.

        58.     On information and belief, despite having knowledge of the ’097 patent and

 knowledge that it is directly and/or indirectly infringing one or more claims of the ’097 patent,

 Hisense has nevertheless continued its infringing conduct and disregarded an objectively high



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 likelihood of infringement. Hisense’s infringing activities relative to the ’097 patent have been,

 and continue to be, willful, wanton, malicious, in bad-faith, deliberate, consciously wrongful,

 flagrant, characteristic of a pirate, and an egregious case of misconduct beyond typical

 infringement such that Plaintiff is entitled under 35 U.S.C. § 284 to enhanced damages up to three

 times the amount found or assessed.

        59.     SPV has been damaged as a result of Hisense’s infringing conduct described in this

 Count. Hisense is, thus, liable to SPV in an amount that adequately compensates SPV for Hisense’s

 infringements, which, by law, cannot be less than a reasonable royalty, together with interest and

 costs as fixed by this Court under 35 U.S.C. § 284

                                             COUNT II
                      (INFRINGEMENT OF U.S. PATENT NO. 7,685,498)

        60.     Plaintiff incorporates paragraphs 1 through 59 herein by reference.

        61.     SPV is the assignee of the ’498 patent, entitled “Digital broadcasting system and

 digital broadcast transmission and reception method,” with ownership of all substantial rights

 in the ’498 patent, including the right to exclude others and to enforce, sue, and recover

 damages for past and future infringements.

        62.     The ’498 patent is valid, enforceable, and was duly issued in full compliance with

 Title 35 of the United States Code. The ’498 patent issued from U.S. Patent Application No.

 10/586,438.

        63.     Hisense has and continues to directly and/or indirectly infringe (by inducing

 infringement) one or more claims of the ’498 patent in this judicial district and elsewhere in Texas

 and the United States.

        64.     On information and belief, Hisense designs, develops, manufactures, assembles and

 markets televisions, projectors, and other devices configured to decode H.265/HEVC video. See


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 https://www.divx.com/press/hisense-to-integrate-divx-hevc-solution-to-provide-4k-ultra-hd-for-

 its-digital-televisions/ (announced on May 27, 2015 and last visited May 21, 2021) (stating

 “Hisense, the fourth largest global TV manufacturer, will integrate support for DivX® HEVC

 Ultra HD video playback into its 4K TV product portfolio. The addition of DivX HEVC

 technology enables Hisense Ultra HD televisions to deliver a consistent, high quality video

 experience up to 4K to consumers globally. … it was crucial for Hisense to add best-in-class 4K

 video support powered by DivX HEVC to our digital TV portfolio. DivX HEVC lets [Hisense]

 deliver stunning UHD viewing experiences, helps to future-proof our upcoming products for 4K

 OTT streaming services and ensures that our existing offerings support the latest decoding

 standards.”).

         65.     Hisense directly infringes the ʼ498 patent via 35 U.S.C. § 271(a) by making,

 offering for sale, selling, and/or importing those Accused Products, their components and

 processes, and/or products containing the same that incorporate the fundamental technologies

 covered by the ’498 patent to, for example, its alter egos, agents, intermediaries, distributors,

 importers, customers, subsidiaries, and/or consumers. Furthermore, on information and belief,

 Hisense sells and makes the Accused Products outside of the United States, delivers those products

 to its customers, distributors, and/or subsidiaries in the United States, or in the case that it delivers

 the Accused Products outside of the United States it does so intending and/or knowing that those

 products are destined for the United States and/or designing those products for sale in the United

 States, thereby directly infringing the ’498 patent. See, e.g., Lake Cherokee Hard Drive Techs.,

 L.L.C. v. Marvell Semiconductor, Inc., 964 F. Supp. 2d 653, 658 (E.D. Tex. 2013). Furthermore,

 Hisense directly infringes the ’498 patent through its direct involvement in the activities of its

 subsidiaries, including Hisense Electronics Manufacturing Company of America Corporation and



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 Hisense USA Corporation, including by selling and offering for sale the Accused Products directly

 to such subsidiaries and importing the Accused Products into the United States for such

 subsidiaries. Such subsidiaries conduct activities that constitute direct infringement of the ’498

 patent under 35 U.S.C. § 271(a) by making, offering for sale, selling, and/or importing those

 Accused Products. For example, and on information and belief, Hisense offers for sale, sells, and

 imports the Accused Products within the U.S. to, for example, its distributors, customers,

 subsidiaries, importers, and/or consumers. Further, Hisense is vicariously liable for this infringing

 conduct of its U.S.-based sales subsidiaries, e.g., Hisense Electronics Manufacturing Company of

 America Corporation and Hisense USA Corporation, (under both the alter ego and agency

 theories) because, as an example and on information and belief, Hisense and Hisense Electronics

 Manufacturing Company of America Corporation and Hisense USA Corporation are essentially

 the same company, and Hisense has the right and ability to control its subsidiaries infringing acts

 and receives a direct financial benefit from the infringement of its U.S.-based sales subsidiaries,

 e.g., Hisense Electronics Manufacturing Company of America Corporation and Hisense USA

 Corporation.

        66.     For example, Hisense infringes claim 10 of the ʼ498 patent via the Accused

 Products. The Accused Products comprise the “reception apparatus for use in a digital broadcasting

 system for transmitting and receiving, via a network, a broadcast stream created from a broadcast

 source, the broadcast source including image and audio data and being used for broadcasting” of

 claim 10. For example, the Accused Products are each a reception apparatus that receives digital

 HEVC-encoded content streams of video and audio, such as HEVC encoded live broadcast

 content.                    See,                      e.g.,                   https://assets.hisense-

 usa.com/assets/ProductDownloads/234/3894d2f2de/H6570G-User-Manual.pdf (last visited on



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 May 21, 2021) (stating that H.265 is supported); https://www.hisense-usa.com/tv-and-

 audio/televisions/all-tvs/85H6570G_4k-uhd-hisense-android-smart-tv-2020 (last visited on May

 21, 2021) (stating “Stream more than 500,000 shows, movies, popular apps like Netflix, Hulu,

 YouTube and many more. Watch live sports and news from popular channels or gather to watch

 the hottest videos from YouTube.”).

        67.     The Accused Products each comprise “a receiving unit operable to receive the

 broadcast stream via the network.” For example, the Accused Products are configured to receive

 the H.265/HEVC encoded broadcast stream via the internet. See, e.g., https://assets.hisense-

 usa.com/assets/ProductDownloads/234/3894d2f2de/H6570G-User-Manual.pdf (last visited on

 May 21, 2021) (stating that H.265 is supported); https://www.hisense-usa.com/tv-and-

 audio/televisions/all-tvs/85H6570G_4k-uhd-hisense-android-smart-tv-2020 (last visited on May

 21, 2021) (stating “Stream more than 500,000 shows, movies, popular apps like Netflix, Hulu,

 YouTube and many more. Watch live sports and news from popular channels or gather to watch

 the hottest videos from YouTube.”).

        68.     The Accused Products each comprise “a decoding unit operable to extract, from the

 received broadcast stream, at least one of a first layer code and a second layer code, the first layer

 code and the second layer code (i) being generated from the broadcast source coded based on a

 characteristic of the broadcast source, and (ii) respectively being for reproduction of the broadcast

 source.” For example, the Accused Products have H.265 decoding units that are configured to

 extract coded NAL Unit Types (nal_unit_type) from the received stream. The NAL Unit Types

 correspond to the first layer code and second layer code. The NAL Unit Type is generated during

 the coding process at the broadcast source and coded based on the broadcast source (i.e., VCL

 NAL Units contain picture data and non-VCL NAL Units contain supplemental decoding



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 information). The NAL Unit Type identifies whether a NAL Unit is a Video Coding Layer NAL

 Unit or a non-VCL NAL Unit. The codes are used for the decoding process.

        69.     The Accused Products each comprise “a reproducing unit operable to reproduce the

 broadcast source using the at least one of the first layer code and the second layer code extracted

 by said decoding unit.” For example, the Accused Products have a unit that outputs a signal that is

 a reproduction of the source media. The devices use the NAL Unit Types to reconstruct the media.

 For example the NAL Unit Types govern the picture output order. The Accused Products are

 configured to display the reproduced broadcast source.

        70.     The technology discussion above and the exemplary Accused Products provide

 context for Plaintiff’s infringement allegations.

        71.     At a minimum, Hisense has known of the ’498 patent at least as early as the filing

 date of the Complaint. In addition, Hisense has known about the ’498 patent since at least

 November 24, 2020, when Hisense was given access to a data room providing notice of its

 infringement. Further, Hisense was notified again, on December 10, 2020 and May 12, 2021, that

 it had access to the data room providing notice of Hisense’s infringement of the ’498 patent.

        72.     Prior to the filing of the Complaint, Hisense knew or should have known of the

 ’498 patent, and knew or should have known that they infringed the ’498 patent’s claims. Indeed,

 at a minimum, they exercised willful blindness to the existence of the ’498 patent and took

 deliberately wrongful steps to ignore their infringement of the ’498 patent.

        73.     On information and belief, since at least the above-mentioned date when Hisense

 was on notice of its infringement, Hisense has actively induced, under U.S.C. § 271(b),

 distributors, customers, subsidiaries, importers, and/or consumers that import, purchase, or sell the

 Accused Products that include or are made using all of the limitations of one or more claims of the



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 ’498 patent to directly infringe one or more claims of the ’498 patent by using, offering for sale,

 selling, and/or importing the Accused Products. Since at least the notice provided on the above-

 mentioned date, Hisense does so with knowledge, or with willful blindness of the fact, that the

 induced acts constitute infringement of the ’498 patent. Hisense intends to cause, and have taken

 affirmative steps to induce infringement by distributors, importers, customers, subsidiaries, and/or

 consumers by at least, inter alia, creating advertisements that promote the infringing use of the

 Accused Products, creating and/or maintaining established distribution channels for the Accused

 Products into and within the United States, manufacturing the Accused Products in conformity

 with U.S. laws and regulations, distributing or making available instructions or manuals for these

 products to purchasers and prospective buyers, testing and certifying features related to H.265

 decoding in the Accused Products, and/or providing technical support, replacement parts, or

 services for these products to these purchasers in the United States. As noted above, this includes,

 but is not limited to, the collective willful blindness of the Hisense Group, including their singular

 and collective refusal to investigate whether the Accused Products infringe the ’498 patent.

        74.     On information and belief, despite having knowledge of the ’498 patent and

 knowledge that it is directly and/or indirectly infringing one or more claims of the ’498 patent,

 Hisense has nevertheless continued its infringing conduct and disregarded an objectively high

 likelihood of infringement. Hisense’s infringing activities relative to the ’498 patent have been,

 and continue to be, willful, wanton, malicious, in bad-faith, deliberate, consciously wrongful,

 flagrant, characteristic of a pirate, and an egregious case of misconduct beyond typical

 infringement such that Plaintiff is entitled under 35 U.S.C. § 284 to enhanced damages up to three

 times the amount found or assessed.




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        75.     SPV has been damaged as a result of Hisense’s infringing conduct described in this

 Count. Hisense is, thus, liable to SPV in an amount that adequately compensates SPV for Hisense’s

 infringements, which, by law, cannot be less than a reasonable royalty, together with interest and

 costs as fixed by this Court under 35 U.S.C. § 284.

                                            COUNT III
                      (INFRINGEMENT OF U.S. PATENT NO. 8,019,169)

        76.      Plaintiff incorporates paragraphs 1 through 75 herein by reference.

        77.     SPV is the assignee of the ’169 patent, entitled “Image coding apparatus, image

 decoding apparatus, image processing apparatus and methods thereof,” with ownership of all

 substantial rights in the ’169 patent, including the right to exclude others and to enforce, sue,

 and recover damages for past and future infringements.

        78.     The ’169 patent is valid, enforceable, and was duly issued in full compliance with

 Title 35 of the United States Code. The ’169 patent issued from U.S. Patent Application No.

 12/014,895.

        79.     Hisense has and continues to directly and/or indirectly infringe (by inducing

 infringement) one or more claims of the ’169 patent in this judicial district and elsewhere in Texas

 and the United States.

        80.     On information and belief, Hisense designs, develops, manufactures, assembles and

 markets televisions, projectors, and other devices configured to decode H.265/HEVC video. See

 https://www.divx.com/press/hisense-to-integrate-divx-hevc-solution-to-provide-4k-ultra-hd-for-

 its-digital-televisions/ (announced on May 27, 2015 and last visited May 21, 2021) (stating

 “Hisense, the fourth largest global TV manufacturer, will integrate support for DivX® HEVC

 Ultra HD video playback into its 4K TV product portfolio. The addition of DivX HEVC

 technology enables Hisense Ultra HD televisions to deliver a consistent, high quality video


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 experience up to 4K to consumers globally. … it was crucial for Hisense to add best-in-class 4K

 video support powered by DivX HEVC to our digital TV portfolio. DivX HEVC lets [Hisense]

 deliver stunning UHD viewing experiences, helps to future-proof our upcoming products for 4K

 OTT streaming services and ensures that our existing offerings support the latest decoding

 standards.”).

         81.     Hisense directly infringes the ’169 patent via 35 U.S.C. § 271(a) by making,

 offering for sale, selling, and/or importing those Accused Products, their components and

 processes, and/or products containing the same that incorporate the fundamental technologies

 covered by the ’169 patent to, for example, its alter egos, agents, intermediaries, distributors,

 importers, customers, subsidiaries, and/or consumers. Furthermore, on information and belief,

 Hisense sells and makes the Accused Products outside of the United States, delivers those products

 to its customers, distributors, and/or subsidiaries in the United States, or in the case that it delivers

 the Accused Products outside of the United States it does so intending and/or knowing that those

 products are destined for the United States and/or designing those products for sale in the United

 States, thereby directly infringing the ’169 patent. See, e.g., Lake Cherokee Hard Drive Techs.,

 L.L.C. v. Marvell Semiconductor, Inc., 964 F. Supp. 2d 653, 658 (E.D. Tex. 2013). Furthermore,

 Hisense directly infringes the ’169 patent through its direct involvement in the activities of its

 subsidiaries, including Hisense Electronics Manufacturing Company of America Corporation and

 Hisense USA Corporation, including by selling and offering for sale the Accused Products directly

 to such subsidiaries and importing the Accused Products into the United States for such

 subsidiaries. Such subsidiaries conduct activities that constitute direct infringement of the ’169

 patent under 35 U.S.C. § 271(a) by making, offering for sale, selling, and/or importing those

 Accused Products. For example, and on information and belief, Hisense offers for sale, sells, and



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 imports the Accused Products within the U.S. to, for example, its distributors, customers,

 subsidiaries, importers, and/or consumers. Further, Hisense is vicariously liable for this infringing

 conduct of its U.S.-based sales subsidiaries, e.g., Hisense Electronics Manufacturing Company of

 America Corporation and Hisense USA Corporation, (under both the alter ego and agency

 theories) because, as an example and on information and belief, Hisense and Hisense Electronics

 Manufacturing Company of America Corporation and Hisense USA Corporation are essentially

 the same company, and Hisense has the right and ability to control its subsidiaries infringing acts

 and receives a direct financial benefit from the infringement of its U.S.-based sales subsidiaries,

 e.g., Hisense Electronics Manufacturing Company of America Corporation and Hisense USA

 Corporation.

        82.     For example, Hisense infringes claim 21 of the ’169 patent via the Accused

 Products. The Accused Products perform the “image decoding method” of claim 21. For example,

 the Accused Products implement a decoding method to carry out a H.265/HEVC decoding process.

        83.      The Accused Products perform “acquiring a bit stream and additional information

 which indicates a first still image.” For example, in the HEVC decoding process a decoder acquires

 a bit stream and additional information by receiving an input bitstream and extracting a sub-

 bitstream (additional information) identified as BitstreamToDecode that indicates a current picture

 (first still image) via the variable CurrPic. The ITU-T H.265 Standard provides support for this:




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        84.     The Accused Products perform “acquiring a second still image indicated in the

 additional information.” For example, in the HEVC decoding process, the decoder acquires a

 reference picture (second still image) by selecting a reference picture from a reference picture list,

 which is included in the sub-bitstream (additional information). The ITU-T H.265 Standard

 provides support for this:




        85.     The Accused Products perform “generating a predictive image for the first image

 using the second still image as a reference image.” For example, in the inter prediction processes


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 included in the H.265 decoding process, the predictive picture is created from the reference picture.

 The output of the inter prediction decoding is a modified reconstructed picture before deblocking

 filtering, which is a predictive image. The ITU-T H.265 Standard provides support for this:




         86.    The Accused Products perform “adding prediction residual obtained from the bit

 stream indicating the first image and the predictive image to obtain the first still image.” For

 example, in the HEVC decoding process, arrays of prediction residual samples obtained from the

 bit stream, at a location where the additional information BitstreamToDecode indicating the first

 still image was extracted, are added to the predictive image (as array of samples predicted for the

 first still image) to generate the first still image. The ITU-T H.265 Standard provides support for

 this:


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        87.     The technology discussion above and the exemplary Accused Products provide

 context for Plaintiff’s infringement allegations.

        88.     At a minimum, Hisense has known of the ’169 patent at least as early as the filing

 date of the Complaint. In addition, Hisense has known about the ’169 patent since at least

 November 24, 2020, when Hisense was given access to a data room providing notice of its

 infringement. Further, Hisense was notified again, on December 10, 2020 and May 12, 2021, that

 it had access to the data room providing notice of Hisense’s infringement of the ’169 patent.

        89.     Prior to the filing of the Complaint, Hisense knew or should have known of the

 ’169 patent, and knew or should have known that they infringed the ’169 patent’s claims. Indeed,




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 at a minimum, they exercised willful blindness to the existence of the ’169 patent and took

 deliberately wrongful steps to ignore their infringement of the ’169 patent

        90.     On information and belief, since at least the above-mentioned date when Hisense

 was on notice of its infringement, Hisense has actively induced, under U.S.C. § 271(b), its

 distributors, customers, subsidiaries, importers, and/or consumers that import, purchase, or sell the

 Accused Products that include or are made using all of the limitations of one or more claims of the

 ’169 patent to directly infringe one or more claims of the ’169 patent by using, offering for sale,

 selling, and/or importing the Accused Products. Since at least the notice provided on the above-

 mentioned date, Hisense does so with knowledge, or with willful blindness of the fact, that the

 induced acts constitute infringement of the ’169 patent. Hisense intends to cause, and has taken

 affirmative steps to induce infringement by its distributors, importers, customers, subsidiaries,

 and/or consumers by at least, inter alia, creating advertisements that promote the infringing use of

 the Accused Products, creating and/or maintaining established distribution channels for the

 Accused Products into and within the United States, manufacturing the Accused Products in

 conformity with U.S. laws and regulations, distributing or making available instructions or

 manuals for these products to purchasers and prospective buyers, testing and certifying features

 related to H.265 decoding in the Accused Products, and/or providing technical support,

 replacement parts, or services for these products to these purchasers in the United States. As noted

 above, this includes, but is not limited to, the collective willful blindness of the Hisense Group,

 including their singular and collective refusal to investigate whether the Accused Products infringe

 the ’169 patent.

        91.         On information and belief, despite having knowledge of the ’169 patent and

 knowledge that it is directly and/or indirectly infringing one or more claims of the ’169 patent,



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 Hisense has nevertheless continued its infringing conduct and disregarded an objectively high

 likelihood of infringement. Hisense’s infringing activities relative to the ’169 patent have been,

 and continue to be, willful, wanton, malicious, in bad-faith, deliberate, consciously wrongful,

 flagrant, characteristic of a pirate, and an egregious case of misconduct beyond typical

 infringement such that Plaintiff is entitled under 35 U.S.C. § 284 to enhanced damages up to three

 times the amount found or assessed.

        92.      SPV has been damaged as a result of Hisense’s infringing conduct described in

 this Count. Hisense is, thus, liable to SPV in an amount that adequately compensates SPV for

 Hisense’s infringements, which, by law, cannot be less than a reasonable royalty, together with

 interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                            COUNT IV
                      (INFRINGEMENT OF U.S. PATENT NO. 8,737,476)

        93.     Plaintiff incorporates paragraphs 1 through 92 herein by reference.

        94.     SPV is the assignee of the ’476 patent, entitled “Image decoding device, image

 decoding method, integrated circuit, and program for performing parallel decoding of coded image

 data,” with ownership of all substantial rights in the ’476 patent, including the right to

 exclude others and to enforce, sue, and recover damages for past and future infringements.

        95.      The ’476 patent is valid, enforceable, and was duly issued in full compliance with

 Title 35 of the United States Code. The ’476 patent issued from U.S. Patent Application No.

 12/812,134.

        96.     Hisense has and continues to directly and/or indirectly infringe (by inducing

 infringement) one or more claims of the ’476 patent in this judicial district and elsewhere in Texas

 and the United States.




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         97.     On information and belief, Hisense designs, develops, manufactures, assembles and

 markets televisions, projectors, and other devices configured to decode H.265/HEVC video. See

 https://www.divx.com/press/hisense-to-integrate-divx-hevc-solution-to-provide-4k-ultra-hd-for-

 its-digital-televisions/ (announced on May 27, 2015 and last visited May 21, 2021) (stating

 “Hisense, the fourth largest global TV manufacturer, will integrate support for DivX® HEVC

 Ultra HD video playback into its 4K TV product portfolio. The addition of DivX HEVC

 technology enables Hisense Ultra HD televisions to deliver a consistent, high quality video

 experience up to 4K to consumers globally. … it was crucial for Hisense to add best-in-class 4K

 video support powered by DivX HEVC to our digital TV portfolio. DivX HEVC lets [Hisense]

 deliver stunning UHD viewing experiences, helps to future-proof our upcoming products for 4K

 OTT streaming services and ensures that our existing offerings support the latest decoding

 standards.”).

         98.     Hisense directly infringes the ’476 patent via 35 U.S.C. § 271(a) by making,

 offering for sale, selling, and/or importing those Accused Products, their components and

 processes, and/or products containing the same that incorporate the fundamental technologies

 covered by the ’476 patent to, for example, its alter egos, agents, intermediaries, distributors,

 importers, customers, subsidiaries, and/or consumers. Furthermore, on information and belief,

 Hisense sells and makes the Accused Products outside of the United States, delivers those products

 to its customers, distributors, and/or subsidiaries in the United States, or in the case that it delivers

 the Accused Products outside of the United States it does so intending and/or knowing that those

 products are destined for the United States and/or designing those products for sale in the United

 States, thereby directly infringing the ’476 patent. See, e.g., Lake Cherokee Hard Drive Techs.,

 L.L.C. v. Marvell Semiconductor, Inc., 964 F. Supp. 2d 653, 658 (E.D. Tex. 2013). Furthermore,



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 Hisense directly infringes the ’476 patent through its direct involvement in the activities of its

 subsidiaries, including Hisense Electronics Manufacturing Company of America Corporation and

 Hisense USA Corporation, including by selling and offering for sale the Accused Products directly

 to such subsidiaries and importing the Accused Products into the United States for such

 subsidiaries. Such subsidiaries conduct activities that constitute direct infringement of the ’476

 patent under 35 U.S.C. § 271(a) by making, offering for sale, selling, and/or importing those

 Accused Products. For example, and on information and belief, Hisense offers for sale, sells, and

 imports the Accused Products within the U.S. to, for example, its distributors, customers,

 subsidiaries, importers, and/or consumers. Further, Hisense is vicariously liable for this infringing

 conduct of its U.S.-based sales subsidiaries, e.g., Hisense Electronics Manufacturing Company of

 America Corporation and Hisense USA Corporation, (under both the alter ego and agency

 theories) because, as an example and on information and belief, Hisense and Hisense Electronics

 Manufacturing Company of America Corporation and Hisense USA Corporation are essentially

 the same company, and Hisense has the right and ability to control its subsidiaries infringing acts

 and receives a direct financial benefit from the infringement of its U.S.-based sales subsidiaries,

 e.g., Hisense Electronics Manufacturing Company of America Corporation and Hisense USA

 Corporation.

        99.     For example, Hisense infringes claim 14 of the ’476 patent via the Accused

 Products. The Accused Products perform the “image decoding method of decoding coded image

 data on a block-by-block basis, the coded image data being resulted from coding, on a block-by-

 block basis, of image data partitioned into blocks each of which has a predetermined number of

 pixels” of claim 14. For example, the Accused Products include an H.265 decoder that receives a

 coded image and decodes it on a block-by-block basis. The coded image resulted from coding, on



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 a block-by-block basis, of image data partitioned into blocks, known as CTUs. The CTUs have a

 predetermined number of pixels (e.g., 64 x 64 pixels).

        100.    The Accused Products perform “pre-decoding, on a block-by-block basis, reference

 information indicating a number of reference images to be referred to on a block-by-block basis

 for decoding the coded image data.” For example, as part of processing H.265 encoded video, the

 Accused Products use “slice decoding.” The slice decoding process includes obtaining reference

 information that indicates a number of reference images for decoding an image slice prior to

 decoding (i.e. pre-decoding) the current image to be decoded on a block-by-block basis. The

 Accused Products receive information from the slice header that include RPS (Reference Picture

 Set) information. The ITU-T H.265 Standard provides support for this:




        101.    The RPS information contains reference information indicating number of images

 to be referred to for decoding an image slice (e.g. in the example above, images I0 and P1 are the

 reference images used to decode image B2). For example, RPS contains syntax and index

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 structures that refer to one or more reference pictures and how those reference pictures are to be

 used to decode image slices. Further, the RPS information also contains reference information

 indicating number of images to be referred to for decoding an image slice (e.g. in the example

 above, the number of reference images for Picture B2 is two). The slice header containing the

 status of the DPB (Decoded Picture Buffer) informs the Accused Product’s H.265 decoder of the

 number of reference images to be referred to for decoding an image slice (e.g., image B2 above

 requires two reference images to be decoded).

        102.    The Accused Products perform “calculating, on a block-by-block basis using the

 reference information, a predictive data amount of a reference image to be read out on a block-by-

 block basis from a storage unit for decoding the coded image data, the storage unit storing data of

 at least one reference image to be referred to for decoding the coded image data.” For example, in

 H.265/HEVC, the DPB (Decoded Picture Buffer) is a storage unit that stores RPS information,

 including the reference images to be used for decoding an image slice. In the example above, the

 DPB stores three reference images (I0, P1, B2) that are used in the example’s HEVC decoding

 process. The Accused Products use the RPS reference information to calculate the amount of

 reference image data required to decode an image slice. More specifically, the H.265 decoder

 determines the total amount of reference image data (predictive data amount) required to decode

 an image slice. For example, for ‘n’ number of reference images the total predictive data amount

 is ‘n’ times the data amount of one reference image. In the example above, to decode the B2 image

 the H.265 decoder calculates that a predictive data amount associated with two reference images

 (I0 and P1) is to be read out from the DPB since two reference images are used to decode the

 image B2.




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        103.    The Accused Products perform “determining, using the predictive data amount

 calculated, multiple blocks in the coded image data which are to be decoded in parallel, in such a

 manner as to reduce variation in amounts of data read out from the storage unit.” For example, the

 Accused Products use the predictive data (referenced above) and the reference images to determine

 the blocks (CTUs) that are to be decoded in parallel in the current image to be decoded. For

 example, as shown above, the H.265 decoder determines the multiple blocks in image B2 to be

 decoded in parallel using exemplary reference images I0 and P1.

        104.    The Accused Products perform “decoding in parallel the determined multiple

 blocks in the coded image data.” For example, the Accused Products decode the determined

 multiple blocks in parallel. For example, as shown above, multiple blocks in exemplary image B2

 are decoded in parallel while the exemplary H.265 decoder uses images I0 and P1 as reference

 images to decode the same.

        105.     The technology discussion above and the exemplary Accused Products provide

 context for Plaintiff’s allegations that each limitation of claim 14 is met.

        106.    At a minimum, Hisense has known of the ’476 patent at least as early as the filing

 date of the Complaint. In addition, Hisense has known about the ’476 patent since at least

 November 24, 2020, when Hisense was given access to a data room providing notice of its

 infringement. Further, Hisense was notified again, on December 10, 2020 and May 12, 2021, that

 it had access to the data room providing notice of Hisense’s infringement of the ’476 patent.

        107.    Prior to the filing of the Complaint, Hisense knew or should have known of the

 ’476 patent, and knew or should have known that they infringed the ’476 patent’s claims. Indeed,

 at a minimum, they exercised willful blindness to the existence of the ’476 patent and took

 deliberately wrongful steps to ignore their infringement of the ’476 patent.



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        108.    On information and belief, since at least the above-mentioned date when Hisense

 was on notice of its infringement, Hisense has actively induced, under U.S.C. § 271(b), its

 distributors, customers, subsidiaries, importers, and/or consumers that import, purchase, or sell the

 Accused Products that include or are made using all of the limitations of one or more claims of the

 ’476 patent to directly infringe one or more claims of the ’476 patent by using, offering for sale,

 selling, and/or importing the Accused Products. Since at least the notice provided on the above-

 mentioned date, Hisense does so with knowledge, or with willful blindness of the fact, that the

 induced acts constitute infringement of the ’476 patent. Hisense intends to cause, and has taken

 affirmative steps to induce infringement by its distributors, importers, customers, subsidiaries,

 and/or consumers by at least, inter alia, creating advertisements that promote the infringing use of

 the Accused Products, creating and/or maintaining established distribution channels for the

 Accused Products into and within the United States, manufacturing the Accused Products in

 conformity with U.S. laws and regulations, distributing or making available instructions or

 manuals for these products to purchasers and prospective buyers, testing and certifying features

 related to H.265 decoding in the Accused Products, and/or providing technical support,

 replacement parts, or services for these products to these purchasers in the United States. As noted

 above, this includes, but is not limited to, the collective willful blindness of the Hisense Group,

 including their singular and collective refusal to investigate whether the Accused Products infringe

 the ’476 patent.

        109.        On information and belief, despite having knowledge of the ’476 patent and

 knowledge that it is directly and/or indirectly infringing one or more claims of the ’476 patent,

 Hisense has nevertheless continued its infringing conduct and disregarded an objectively high

 likelihood of infringement. Hisense’s infringing activities relative to the ’476 patent have been,



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 and continue to be, willful, wanton, malicious, in bad-faith, deliberate, consciously wrongful,

 flagrant, characteristic of a pirate, and an egregious case of misconduct beyond typical

 infringement such that Plaintiff is entitled under 35 U.S.C. § 284 to enhanced damages up to three

 times the amount found or assessed.

        110.    SPV has been damaged as a result of Hisense’s infringing conduct described in this

 Count. Hisense is, thus, liable to SPV in an amount that adequately compensates SPV for Hisense’s

 infringements, which, by law, cannot be less than a reasonable royalty, together with interest and

 costs as fixed by this Court under 35 U.S.C. § 284.

                                             COUNT V
                      (INFRINGEMENT OF U.S. PATENT NO. 8,971,401)

        111.     Plaintiff incorporates paragraphs 1 through 110 herein by reference.

        112.    SPV is the assignee of the ’401 patent, entitled “Image decoding device” with

 ownership of all substantial rights in the ’401 patent, including the right to exclude others

 and to enforce, sue, and recover damages for past and future infringements.

        113.     The ’401 patent is valid, enforceable, and was duly issued in full compliance with

 Title 35 of the United States Code. The ’401 patent issued from U.S. Patent Application No.

 13/246,503.

        114.     Hisense has and continues to directly and/or indirectly infringe (by inducing

 infringement) one or more claims of the ’401 patent in this judicial district and elsewhere in Texas

 and the United States.

        115.    On information and belief, Hisense designs, develops, manufactures, assembles and

 markets televisions, projectors, and other devices configured to decode H.265/HEVC video. See

 https://www.divx.com/press/hisense-to-integrate-divx-hevc-solution-to-provide-4k-ultra-hd-for-

 its-digital-televisions/ (announced on May 27, 2015 and last visited May 21, 2021) (stating


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 “Hisense, the fourth largest global TV manufacturer, will integrate support for DivX® HEVC

 Ultra HD video playback into its 4K TV product portfolio. The addition of DivX HEVC

 technology enables Hisense Ultra HD televisions to deliver a consistent, high quality video

 experience up to 4K to consumers globally. … it was crucial for Hisense to add best-in-class 4K

 video support powered by DivX HEVC to our digital TV portfolio. DivX HEVC lets [Hisense]

 deliver stunning UHD viewing experiences, helps to future-proof our upcoming products for 4K

 OTT streaming services and ensures that our existing offerings support the latest decoding

 standards.”).

         116.    Hisense directly infringes the ’401 patent via 35 U.S.C. § 271(a) by making,

 offering for sale, selling, and/or importing those Accused Products, their components and

 processes, and/or products containing the same that incorporate the fundamental technologies

 covered by the ’401 patent to, for example, its alter egos, agents, intermediaries, distributors,

 importers, customers, subsidiaries, and/or consumers. Furthermore, on information and belief,

 Hisense sells and makes the Accused Products outside of the United States, delivers those products

 to its customers, distributors, and/or subsidiaries in the United States, or in the case that it delivers

 the Accused Products outside of the United States it does so intending and/or knowing that those

 products are destined for the United States and/or designing those products for sale in the United

 States, thereby directly infringing the ’401 patent. See, e.g., Lake Cherokee Hard Drive Techs.,

 L.L.C. v. Marvell Semiconductor, Inc., 964 F. Supp. 2d 653, 658 (E.D. Tex. 2013). Furthermore,

 Hisense directly infringes the ’401 patent through its direct involvement in the activities of its

 subsidiaries, including Hisense Electronics Manufacturing Company of America Corporation and

 Hisense USA Corporation, including by selling and offering for sale the Accused Products directly

 to such subsidiaries and importing the Accused Products into the United States for such



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 subsidiaries. Such subsidiaries conduct activities that constitute direct infringement of the ’401

 patent under 35 U.S.C. § 271(a) by making, offering for sale, selling, and/or importing those

 Accused Products. For example, and on information and belief, Hisense offers for sale, sells, and

 imports the Accused Products within the U.S. to, for example, its distributors, customers,

 subsidiaries, importers, and/or consumers. Further, Hisense is vicariously liable for this infringing

 conduct of its U.S.-based sales subsidiaries, e.g., Hisense Electronics Manufacturing Company of

 America Corporation and Hisense USA Corporation, (under both the alter ego and agency

 theories) because, as an example and on information and belief, Hisense and Hisense Electronics

 Manufacturing Company of America Corporation and Hisense USA Corporation are essentially

 the same company, and Hisense has the right and ability to control its subsidiaries infringing acts

 and receives a direct financial benefit from the infringement of its U.S.-based sales subsidiaries,

 e.g., Hisense Electronics Manufacturing Company of America Corporation and Hisense USA

 Corporation.

        117.    For example, Hisense infringes claim 1 of the ’401 patent via the Accused Products.

 The Accused Products comprise the “image decoding device for processing an input bit stream

 containing encoded data obtained by encoding a moving picture using intra-frame prediction,

 where each of the macroblocks of the moving picture includes a plurality of prediction units for

 the intra-frame prediction” of claim 1. For example, the Accused Products are configured to decode

 H.265 encoded video that comprises input bitstreams encoded using intra-frame prediction. The

 CTUs (macroblocks) of the video frames include a plurality of Prediction Units (PUs) for the intra-

 prediction.

        118.    The Accused Products comprise “a stream divider configured to divide the input

 bit stream into a plurality of sub-streams.” For example, the Accused Products are configured to



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 use the CABAC parsing process. In the CABAC parsing process, a stream divider is configured to

 divide the input bitstream into slices (sub-streams) to be decoded. The sub-streams comprise CTU

 rows for parallel processing, including but not limited to Wavefront Parallel Processing (WPP),

 which is used by H.265 for entropy decoding.

        119.    The Accused Products comprise “a plurality of image decoders each configured to

 decode the corresponding one of the plurality of sub-streams, thereby outputting images.” For

 example, as part of WPP, the Accused Products are configured to use a plurality of decoders to

 decode the slices in parallel. The plurality of image decoders may comprise a plurality of physical

 and/or logical cores/threads/engines/units.

        120.    The Accused Products are configured such that “the stream divider divides the

 encoded data corresponding to one of the macroblocks into groups each made up of at least one of

 the prediction units and outputs the sub-streams so that the groups are included in different ones

 of the sub-streams, each of the sub-streams includes prediction units from different macroblocks.”

 For example, the H.265 encoded data corresponding to one of the CTUs (macroblocks) is divided

 into a plurality of coding units (CU) (groups), each group includes at least one of the prediction

 units. Individual CTUs including their CU (groups) are included in different WPP slices (sub-

 streams), with each slice including PUs from different CTUs (macroblocks).

        121.     The technology discussion above and the exemplary Accused Products provide

 context for Plaintiff’s allegations that each limitation of claim 1 is met.

        122.    At a minimum, Hisense has known of the ’401 patent at least as early as the filing

 date of the Complaint. In addition, Hisense has known about the ’401 patent since at least

 November 24, 2020, when Hisense was given access to a data room providing notice of its




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 infringement. Further, Hisense was notified again, on December 10, 2020 and May 12, 2021, that

 it had access to the data room providing notice of Hisense’s infringement of the ’401 patent.

        123.    Prior to the filing of the Complaint, Hisense knew or should have known of the

 ’401 patent, and knew or should have known that they infringed the ’401 patent’s claims. Indeed,

 at a minimum, they exercised willful blindness to the existence of the ’401 patent and took

 deliberately wrongful steps to ignore their infringement of the ’401 patent.

        124.    On information and belief, since at least the above-mentioned date when Hisense

 was on notice of its infringement, Hisense has actively induced, under U.S.C. § 271(b), its

 distributors, customers, subsidiaries, importers, and/or consumers that import, purchase, or sell the

 Accused Products that include or are made using all of the limitations of one or more claims of the

 ’401 patent to directly infringe one or more claims of the ’401 patent by using, offering for sale,

 selling, and/or importing the Accused Products. Since at least the notice provided on the above-

 mentioned date, Hisense does so with knowledge, or with willful blindness of the fact, that the

 induced acts constitute infringement of the ’401 patent. Hisense intends to cause, and has taken

 affirmative steps to induce infringement by its distributors, importers, customers, subsidiaries,

 and/or consumers by at least, inter alia, creating advertisements that promote the infringing use of

 the Accused Products, creating and/or maintaining established distribution channels for the

 Accused Products into and within the United States, manufacturing the Accused Products in

 conformity with U.S. laws and regulations, distributing or making available instructions or

 manuals for these products to purchasers and prospective buyers, testing and certifying features

 related to H.265 decoding in the Accused Products, and/or providing technical support,

 replacement parts, or services for these products to these purchasers in the United States. As noted

 above, this includes, but is not limited to, the collective willful blindness of the Hisense Group,



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 including their singular and collective refusal to investigate whether the Accused Products infringe

 the ’401 patent.

        125.        On information and belief, despite having knowledge of the ’401 patent and

 knowledge that it is directly and/or indirectly infringing one or more claims of the ’401 patent,

 Hisense has nevertheless continued its infringing conduct and disregarded an objectively high

 likelihood of infringement. Hisense’s infringing activities relative to the ’401 patent have been,

 and continue to be, willful, wanton, malicious, in bad-faith, deliberate, consciously wrongful,

 flagrant, characteristic of a pirate, and an egregious case of misconduct beyond typical

 infringement such that Plaintiff is entitled under 35 U.S.C. § 284 to enhanced damages up to three

 times the amount found or assessed.

        126.    SPV has been damaged as a result of Hisense’s infringing conduct described in this

 Count. Hisense is, thus, liable to SPV in an amount that adequately compensates SPV for Hisense’s

 infringements, which, by law, cannot be less than a reasonable royalty, together with interest and

 costs as fixed by this Court under 35 U.S.C. § 284.

                                              COUNT VI
                        (INFRINGEMENT OF U.S. PATENT NO. 9,042,457)

        127.    Plaintiff incorporates paragraphs 1 through 126 herein by reference.

        128.    SPV is the assignee of the ’457 patent, entitled “Image Decoding Apparatus and

 Image Coding Apparatus with Parallel Decoding,” with ownership of all substantial rights in

 the ’457 patent, including the right to exclude others and to enforce, sue, and recover damages

 for past and future infringements.

        129.        The ’457 patent is valid, enforceable, and was duly issued in full compliance with

 Title 35 of the United States Code. The ’457 patent issued from U.S. Patent Application No.

 12/673,408.


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         130.     Hisense has and continues to directly and/or indirectly infringe (by inducing

 infringement) one or more claims of the ’457 patent in this judicial district and elsewhere in Texas

 and the United States.

         131.    On information and belief, Hisense designs, develops, manufactures, assembles and

 markets televisions, projectors, and other devices configured to decode H.265/HEVC video. See

 https://www.divx.com/press/hisense-to-integrate-divx-hevc-solution-to-provide-4k-ultra-hd-for-

 its-digital-televisions/ (announced on May 27, 2015 and last visited May 21, 2021) (stating

 “Hisense, the fourth largest global TV manufacturer, will integrate support for DivX® HEVC

 Ultra HD video playback into its 4K TV product portfolio. The addition of DivX HEVC

 technology enables Hisense Ultra HD televisions to deliver a consistent, high quality video

 experience up to 4K to consumers globally. … it was crucial for Hisense to add best-in-class 4K

 video support powered by DivX HEVC to our digital TV portfolio. DivX HEVC lets [Hisense]

 deliver stunning UHD viewing experiences, helps to future-proof our upcoming products for 4K

 OTT streaming services and ensures that our existing offerings support the latest decoding

 standards.”).

         132.    Hisense directly infringes the ’457 patent via 35 U.S.C. § 271(a) by making,

 offering for sale, selling, and/or importing those Accused Products, their components and

 processes, and/or products containing the same that incorporate the fundamental technologies

 covered by the ’457 patent to, for example, its alter egos, agents, intermediaries, distributors,

 importers, customers, subsidiaries, and/or consumers. Furthermore, on information and belief,

 Hisense sells and makes the Accused Products outside of the United States, delivers those products

 to its customers, distributors, and/or subsidiaries in the United States, or in the case that it delivers

 the Accused Products outside of the United States it does so intending and/or knowing that those



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 products are destined for the United States and/or designing those products for sale in the United

 States, thereby directly infringing the ’457 patent. See, e.g., Lake Cherokee Hard Drive Techs.,

 L.L.C. v. Marvell Semiconductor, Inc., 964 F. Supp. 2d 653, 658 (E.D. Tex. 2013). Furthermore,

 Hisense directly infringes the ’457 patent through its direct involvement in the activities of its

 subsidiaries, including Hisense Electronics Manufacturing Company of America Corporation and

 Hisense USA Corporation, including by selling and offering for sale the Accused Products directly

 to such subsidiaries and importing the Accused Products into the United States for such

 subsidiaries. Such subsidiaries conduct activities that constitute direct infringement of the ’457

 patent under 35 U.S.C. § 271(a) by making, offering for sale, selling, and/or importing those

 Accused Products. For example, and on information and belief, Hisense offers for sale, sells, and

 imports the Accused Products within the U.S. to, for example, its distributors, customers,

 subsidiaries, importers, and/or consumers. Further, Hisense is vicariously liable for this infringing

 conduct of its U.S.-based sales subsidiaries, e.g., Hisense Electronics Manufacturing Company of

 America Corporation and Hisense USA Corporation, (under both the alter ego and agency

 theories) because, as an example and on information and belief, Hisense and Hisense Electronics

 Manufacturing Company of America Corporation and Hisense USA Corporation are essentially

 the same company, and Hisense has the right and ability to control its subsidiaries infringing acts

 and receives a direct financial benefit from the infringement of its U.S.-based sales subsidiaries,

 e.g., Hisense Electronics Manufacturing Company of America Corporation and Hisense USA

 Corporation.

        133.    For example, Hisense infringes claim 7 of the ’457 patent via the Accused Products.

 The Accused Products perform the “image decoding method for decoding, using a processor, a

 coded stream generated by coding, on a block-by-block basis, a picture including blocks” of claim



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 7. For example, the Accused Products include a video decoder that is configured to decode H.265

 encoded data. Each of the Accused Products includes a processor for executing instructions to

 operate the full functionality of the product, including H.265 decoding functionality. The Accused

 Products use a processor to decode a coded stream that resulted from coding, on a block-by-block

 basis, a picture including blocks, known as CTUs.

        134.    The Accused Products use the processor for “performing, on a block group-by-

 block group basis, variable length decoding, and generating block decoding information using a

 result of the variable length decoding for each of a plurality of block groups which (i) contain

 blocks, (ii) are different from each other, and (iii) are included in the coded stream, the block

 decoding information for the block group being a parameter necessary for decoding another block

 group from among the plurality of block groups.” For example, the processor performs, on a block

 group-by-block group basis, variable length decoding, and generates block decoding information

 using a result of the variable length decoding of plurality of block groups. The source code within

 the Accused Products is believed to incorporate variable length decoding on a block group-by-

 block group basis in conformance with H.265 (e.g., predecoding the slice header provides syntax

 elements for subsequent decoding operations).




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         135.    The processor determines the locations, within the network abstraction layer (NAL)

 unit, of encoded syntax elements. The encoded syntax elements point to the start point of the

 substreams in the bitstream, with the locations of the start points obtained as a result of the variable

 length decoding of the syntax elements. Thus, the block decoding information (e.g., encoded

 syntax elements) are generated using the result of the variable length decoding for each block

 group. The plurality of block groups contain blocks. Each block group (substream) contains a

 unique set of blocks. This is shown, for example, in the annotated image below by an encoded

 bitstream comprising four substreams (block groups) each comprised of a different group of CTUs.




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        136.    The plurality of block groups are included in the coded stream. For example, the

 substreams are included in the slice segment data. The block decoding information for the block

 group is a parameter necessary for decoding another block group from among the plurality of block

 groups. For example, the block decoding information (e.g., encoded syntax elements) is necessary

 for decoding another substream: there is a contextual dependency between substreams.

        137.    The Accused Products use the processor for “decoding, on a block-by-block basis

 using the block decoding information generated using the result of the variable length decoding

 performed in said performing, each of the plurality of block groups in parallel, wherein said

 decoding performed on the block-by-block basis on each of the plurality of block groups in parallel

 includes re-executing the variable length decoding on each of the plurality of block groups on

 which the variable length decoding has been performed in said performing to determine a

 prediction mode to be performed on the block group.” For example, H.265 is designed for

 platforms configured to perform parallel decoding of a plurality of individual substreams (block

 groups). The source code within the Accused Products is believed to incorporate decoding in

 parallel in conformance with H.265. The Accused Products support parallel processing, such as

 Wavefront Parallel Processing, to conform with H.265. The blocks in one of the block groups

 (substreams) are decoded by using the block decoding information (syntax elements). The syntax

 elements signal the start of each substream. Substreams are decoded in parallel on a block-by-

 block basis. The decoding performed on the block-by-block basis on each of the plurality of block

 groups in parallel includes re-executing the variable length decoding on each of the plurality of

 blocks groups on which the variable length decoding has been performed in said performing to

 determine a prediction mode to be performed on the block group. For example, the entropy decoder

 re-executes variable length decoding on the blocks in the block groups using the syntax data



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 obtained in the predecoding process. The prediction mode is dependent on the syntax elements of

 the current block in view of the previously decoded blocks’ syntax elements. H.265 specifies that

 information allowing for a determination of a prediction mode to be performed on a block group

 is contained in the coded bitstream. The ITU-T H.265 Standard provides support for this:




        138.     The technology discussion above and the exemplary Accused Products provide

 context for Plaintiff’s allegations that each limitation of claim 7 is met.

        139.    At a minimum, Hisense has known of the ’457 patent at least as early as the filing

 date of the Complaint. In addition, Hisense has known about the ’457 patent since at least

 November 24, 2020, when Hisense was given access to a data room providing notice of its

 infringement. Further, Hisense was notified again, on December 10, 2020 and May 12, 2021, that

 it had access to the data room providing notice of Hisense’s infringement of the ’457 patent.

        140.    Prior to the filing of the Complaint, Hisense knew or should have known of the

 ’457 patent, and knew or should have known that they infringed the ’457 patent’s claims. Indeed,

 at a minimum, they exercised willful blindness to the existence of the ’457 patent and took

 deliberately wrongful steps to ignore their infringement of the ’457 patent

        141.    On information and belief, since at least the above-mentioned date when Hisense

 was on notice of its infringement, Hisense has actively induced, under U.S.C. § 271(b), its

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 distributors, customers, subsidiaries, importers, and/or consumers that import, purchase, or sell the

 Accused Products that include or are made using all of the limitations of one or more claims of the

 ’457 patent to directly infringe one or more claims of the ’457 patent by using, offering for sale,

 selling, and/or importing the Accused Products. Since at least the notice provided on the above-

 mentioned date, Hisense does so with knowledge, or with willful blindness of the fact, that the

 induced acts constitute infringement of the ’457 patent. Hisense intends to cause, and has taken

 affirmative steps to induce infringement by its distributors, importers, customers, subsidiaries,

 and/or consumers by at least, inter alia, creating advertisements that promote the infringing use of

 the Accused Products, creating and/or maintaining established distribution channels for the

 Accused Products into and within the United States, manufacturing the Accused Products in

 conformity with U.S. laws and regulations, distributing or making available instructions or

 manuals for these products to purchasers and prospective buyers, testing and certifying features

 related to H.265 decoding in the Accused Products, and/or providing technical support,

 replacement parts, or services for these products to these purchasers in the United States. As noted

 above, this includes, but is not limited to, the collective willful blindness of the Hisense Group,

 including their singular and collective refusal to investigate whether the Accused Products infringe

 the ’457 patent.

        142.        On information and belief, despite having knowledge of the ’457 patent and

 knowledge that it is directly and/or indirectly infringing one or more claims of the ’457 patent,

 Hisense has nevertheless continued its infringing conduct and disregarded an objectively high

 likelihood of infringement. Hisense’s infringing activities relative to the ’457 patent have been,

 and continue to be, willful, wanton, malicious, in bad-faith, deliberate, consciously wrongful,

 flagrant, characteristic of a pirate, and an egregious case of misconduct beyond typical



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 infringement such that Plaintiff is entitled under 35 U.S.C. § 284 to enhanced damages up to three

 times the amount found or assessed.

        143.    SPV has been damaged as a result of Hisense’s infringing conduct described in this

 Count. Hisense is, thus, liable to SPV in an amount that adequately compensates SPV for Hisense’s

 infringements, which, by law, cannot be less than a reasonable royalty, together with interest and

 costs as fixed by this Court under 35 U.S.C. § 284.

                                            COUNT VII
                      (INFRINGEMENT OF U.S. PATENT NO. 9,414,059)

        144.     Plaintiff incorporates paragraphs 1 through 143 herein by reference.

        145.    SPV is the assignee of the ’059 patent, entitled “Image Processing Device, Image

 Coding Method, and Image Processing Method” with ownership of all substantial rights in the

 ’059 patent, including the right to exclude others and to enforce, sue, and recover damages

 for past and future infringements.

        146.     The ’059 patent is valid, enforceable, and was duly issued in full compliance with

 Title 35 of the United States Code. The ’059 patent issued from U.S. Patent Application No.

 13/877,389.

        147.     Hisense has and continues to directly and/or indirectly infringe (by inducing

 infringement) one or more claims of the ’059 patent in this judicial district and elsewhere in Texas

 and the United States.

        148.    On information and belief, Hisense designs, develops, manufactures, assembles and

 markets televisions, projectors, and other devices configured to decode H.265/HEVC video. See

 https://www.divx.com/press/hisense-to-integrate-divx-hevc-solution-to-provide-4k-ultra-hd-for-

 its-digital-televisions/ (announced on May 27, 2015 and last visited May 21, 2021) (stating

 “Hisense, the fourth largest global TV manufacturer, will integrate support for DivX® HEVC


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 Ultra HD video playback into its 4K TV product portfolio. The addition of DivX HEVC

 technology enables Hisense Ultra HD televisions to deliver a consistent, high quality video

 experience up to 4K to consumers globally. … it was crucial for Hisense to add best-in-class 4K

 video support powered by DivX HEVC to our digital TV portfolio. DivX HEVC lets [Hisense]

 deliver stunning UHD viewing experiences, helps to future-proof our upcoming products for 4K

 OTT streaming services and ensures that our existing offerings support the latest decoding

 standards.”).

         149.    Hisense directly infringes the ’059 patent via 35 U.S.C. § 271(a) by making,

 offering for sale, selling, and/or importing those Accused Products, their components and

 processes, and/or products containing the same that incorporate the fundamental technologies

 covered by the ’059 patent to, for example, its alter egos, agents, intermediaries, distributors,

 importers, customers, subsidiaries, and/or consumers. Furthermore, on information and belief,

 Hisense sells and makes the Accused Products outside of the United States, delivers those products

 to its customers, distributors, and/or subsidiaries in the United States, or in the case that it delivers

 the Accused Products outside of the United States it does so intending and/or knowing that those

 products are destined for the United States and/or designing those products for sale in the United

 States, thereby directly infringing the ’059 patent. See, e.g., Lake Cherokee Hard Drive Techs.,

 L.L.C. v. Marvell Semiconductor, Inc., 964 F. Supp. 2d 653, 658 (E.D. Tex. 2013). Furthermore,

 Hisense directly infringes the ’059 patent through its direct involvement in the activities of its

 subsidiaries, including Hisense Electronics Manufacturing Company of America Corporation and

 Hisense USA Corporation, including by selling and offering for sale the Accused Products directly

 to such subsidiaries and importing the Accused Products into the United States for such

 subsidiaries. Such subsidiaries conduct activities that constitute direct infringement of the ’059



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 patent under 35 U.S.C. § 271(a) by making, offering for sale, selling, and/or importing those

 Accused Products. For example, and on information and belief, Hisense offers for sale, sells, and

 imports the Accused Products within the U.S. to, for example, its distributors, customers,

 subsidiaries, importers, and/or consumers. Further, Hisense is vicariously liable for this infringing

 conduct of its U.S.-based sales subsidiaries, e.g., Hisense Electronics Manufacturing Company of

 America Corporation and Hisense USA Corporation, (under both the alter ego and agency

 theories) because, as an example and on information and belief, Hisense and Hisense Electronics

 Manufacturing Company of America Corporation and Hisense USA Corporation are essentially

 the same company, and Hisense has the right and ability to control its subsidiaries infringing acts

 and receives a direct financial benefit from the infringement of its U.S.-based sales subsidiaries,

 e.g., Hisense Electronics Manufacturing Company of America Corporation and Hisense USA

 Corporation.

         150.    For example, Hisense infringes claim 1 of the ’059 patent via the Accused Products.

 The Accused Products comprise an “image processing device which performs plural first

 processes, by pipelining, on a coded stream obtained by dividing an image into plural coding unit

 blocks according to at least two numbers of pixels and coding the image on a coding unit block-

 by-block basis” of claim 1. For example, each of the Accused Products supports the H.265/HEVC

 standard. The Accused Products process H.265/HEVC encoded video via a pipelined process. A

 block comprises an array of samples (individual pixel data) that is used to code an image. The

 coding is performed on a block-by-block basis because an image will be partitioned into multiple

 blocks to be coded. The blocks can be of various sizes, therefore containing at least two numbers

 of pixels (e.g., 8x8, 16x16, etc.).




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        151.    The Accused Products comprise “plural first process units configured to perform,

 by the pipelining, the plural first processes on the coded stream by each executing one of the plural

 first processes.” For example, the Accused Products comprise multiple first process units

 configured to decode the sub-streams of the coded stream in parallel. The cores of the processor

 on the Accused Products can comprise separate first process units. The source code within the

 Accused Products is believed to incorporate one or more parallel processing tools supported by

 the H.265/HEVC standard. Such tools include, but are not necessarily limited to, tiles, wavefront

 parallel processing, and entropy slices. In a wavefront parallel processing example, CTUs in

 different slices are decoded in parallel. The processing units handling the respective threads via

 pipelining comprise the plural first process units.

        152.    The Accused Products comprise “a control unit configured to divide or connect

 portions of the coded stream into plural first processing unit blocks according to a first number of

 pixels, each of the first processing unit blocks having the same number of pixels in the image, and

 control the plural first process units to cause the plural first processes to be executed for each of

 the first processing unit blocks.” For example, the control path for the CABAC decoder in the

 Accused Products serves as the control unit. The source code within the Accused Products that

 operates the HEVC functionality, including dividing portions of the coded stream into slices that

 are further partitioned into CTUs of the same size serves as the control unit. The plural first

 processes are executed for each of the CTUs. The syntax data of the bitstream uses entry points to

 indicate how to construct the substreams for parallel processing.

        153.     The technology discussion above and the exemplary Accused Products provide

 context for Plaintiff’s allegations that each limitation of claim1 is met.




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        154.    At a minimum, Hisense has known of the ’059 patent at least as early as the filing

 date of the Complaint. In addition, Hisense has known about the ’059 patent since at least

 November 24, 2020, when Hisense was given access to a data room providing notice of its

 infringement. Further, Hisense was notified again, on December 10, 2020 and May 12, 2021, that

 it had access to the data room providing notice of Hisense’s infringement of the ’059 patent.

        155.    Prior to the filing of the Complaint, Hisense knew or should have known of the

 ’059 patent, and knew or should have known that they infringed the ’059 patent’s claims. Indeed,

 at a minimum, they exercised willful blindness to the existence of the ’059 patent and took

 deliberately wrongful steps to ignore their infringement of the ’059 patent

        156.    On information and belief, since at least the above-mentioned date when Hisense

 was on notice of its infringement, Hisense has actively induced, under U.S.C. § 271(b), its

 distributors, customers, subsidiaries, importers, and/or consumers that import, purchase, or sell the

 Accused Products that include or are made using all of the limitations of one or more claims of the

 ʼ059 patent to directly infringe one or more claims of the ʼ059 patent by using, offering for sale,

 selling, and/or importing the Accused Products. Since at least the notice provided on the above-

 mentioned date, Hisense does so with knowledge, or with willful blindness of the fact, that the

 induced acts constitute infringement of the ʼ059 patent. Hisense intends to cause, and has taken

 affirmative steps to induce infringement by its distributors, importers, customers, subsidiaries,

 and/or consumers by at least, inter alia, creating advertisements that promote the infringing use of

 the Accused Products, creating and/or maintaining established distribution channels for the

 Accused Products into and within the United States, manufacturing the Accused Products in

 conformity with U.S. laws and regulations, distributing or making available instructions or

 manuals for these products to purchasers and prospective buyers, testing and certifying features



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 related to H.265 decoding in the Accused Products, and/or providing technical support,

 replacement parts, or services for these products to these purchasers in the United States. As noted

 above, this includes, but is not limited to, the collective willful blindness of the Hisense Group,

 including their singular and collective refusal to investigate whether the Accused Products infringe

 the ’059 patent.

        157.        On information and belief, despite having knowledge of the ʼ059 patent and

 knowledge that it is directly and/or indirectly infringing one or more claims of the ʼ059 patent,

 Hisense has nevertheless continued its infringing conduct and disregarded an objectively high

 likelihood of infringement. Hisense’s infringing activities relative to the ʼ059 patent have been,

 and continue to be, willful, wanton, malicious, in bad-faith, deliberate, consciously wrongful,

 flagrant, characteristic of a pirate, and an egregious case of misconduct beyond typical

 infringement such that Plaintiff is entitled under 35 U.S.C. § 284 to enhanced damages up to three

 times the amount found or assessed.

        158.    SPV has been damaged as a result of Hisense’s infringing conduct described in this

 Count. Hisense is, thus, liable to SPV in an amount that adequately compensates SPV for Hisense’s

 infringements, which, by law, cannot be less than a reasonable royalty, together with interest and

 costs as fixed by this Court under 35 U.S.C. § 284.

                                           CONCLUSION

        159.    Plaintiff SPV is entitled to recover from Hisense the damages sustained by Plaintiff

 as a result of Hisense’s wrongful acts, and willful infringement (including its willful blindness of

 infringement), in an amount subject to proof at trial, which, by law, cannot be less than a reasonable

 royalty, together with interest and costs as fixed by this Court.




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        160.    Plaintiff has incurred and will incur attorneys’ fees, costs, and expenses in the

 prosecution of this action. The circumstances of this dispute may give rise to an exceptional case

 within the meaning of 35 U.S.C. § 285, and Plaintiff is entitled to recover its reasonable and

 necessary attorneys’ fees, costs, and expenses.

                                          JURY DEMAND

        161.    Plaintiff hereby requests a trial by jury pursuant to Rule 38 of the Federal Rules of

 Civil Procedure.

                                      PRAYER FOR RELIEF

        162.    Plaintiff respectfully requests that the Court find in its favor and against Hisense,

 and that the Court grant Plaintiff the following relief:

        1. A judgment that Hisense has infringed the Asserted Patents as alleged herein, directly

                and/or indirectly by way of inducing infringement of such patents;

        2. A judgment for an accounting of all damages sustained by Plaintiff as a result of the

                acts of infringement by Hisense;

        3. A judgment and order requiring Hisense to pay Plaintiff damages under 35 U.S.C. §

                284, including up to treble damages as provided by 35 U.S.C. § 284, and any

                royalties determined to be appropriate;

        4. A judgment and order requiring Hisense to pay Plaintiff pre-judgment and post-

                judgment interest on the damages awarded;

        5. A judgment and order finding this to be an exceptional case and requiring Hisense to

                pay the costs of this action (including all disbursements) and attorneys’ fees as

                provided by 35 U.S.C. § 285; and

        6. Such other and further relief as the Court deems just and equitable.



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 Dated: June 10, 2021                           Respectfully submitted,



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